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 PttJtCO J. A.ft1Af(b
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                   Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 2 of 31



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               Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 3 of 31



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     d: f- ti ( ( F" inc./t.-J,',,~ b.J /\of /,'Mr/-J lo: #-.;or P. ArAj or, .1' ,A/l '9· or (. ~orr,'f,. ,)!{';/or .J.
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                Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 4 of 31



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        Pr.-so11er.s o.. f ( (_( F
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 ·L,-.so.. S-lo..6u- )111, D. I. C.Ortz.on~ '' 1eji'Ol'\11../ /J,"redo:-, ovu /J.e. (/.:O t<,."'1°/./;.c.. 1 (, ( { f'
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                    1
 ·Al/ oHer 11,,k.,,.,,w,, /lJ,,,·Je11 -J,-{;e./ Jo~n /Jo.,,..e. 6oe. ;erso11 r a..d1'11j or J_,,.,.,,1 ac..:fee/ ,.,.. fie /.]~<e
         o.11Jlo, slea.1          or
                                 '.Rejtono..I /J,-r,Jo,." lo, t,,,..z..on w.-ft. ""d"""' or c,a,,,sl,,.,,,...fwe. ~f...Jle.1e
        of Cu.rb1m Acl'lo)C/(/-f_ e.ic11 os·c..ru~o,:ro11111~1 o.f S-laf~ 4;.s-0/1u-..s a.f 6CC r oy 4n~          s-,-,,.,./".r4
        J1s,jne/ '.h-r-11.rol-f ~~_r'Jon.s(,-,.c/t,./i119 '11..f no f /,Wl,./eJ '4 L ll;: ar.J/or J../ /;NM lj F}
 '/I.// /j,,},...vJn /IJ11,-Jent1·{;e.J John/~,,.._ hoe. ''f'ersonJ 4cfi11j er ho..11inJ a.c.fe.J .{.,,. ~,,'t..on «.S "'"'
        owt1e.r> of{,·'-f4'; "/JoqrJ ' M€MtU'j J.•rec:/00 €/tli,<J/'tje.e1 "j~ or t.J/4/*o..ren:/ "'J~ ,,J.'/A 4c.fc....~/ t?r
                                        1

                          k.,....w/e.JJ{!. .,f ttn~ wc'1fJ ,,{ {Mto~ A1onox,•Je. 1C..JC17oswre. t;oo1's'on,'17j f b C{/:;
         C.On.sfr ... div<-                                                                                                                A

        Lll. Fl o. ....J/or )./1:.-;.../;Vf IJF wto J,-J 11ofa.c.f· ye(l.,Sono.U~ So a..s ./o f'rofecf Ii< f-fc;._fe_
        frlSOf\e,rJ      ~nf.'neJ 11...+ .f/,t..       Jefec.i'vei:i Ju'J"J '{.,,. -l'roh·f j,r,'Jt)"" sir"" d'-'treJ
 •A-// l/"knowi\/U/\1'J€#'1.ft{,·e.ef ~rt'l.oVl                      flerJOl'lne../ l"Uf'OM•'b/€. .f..r   #..c k:i-./o-d'j .freo.fIV7~ 4 f
        Sf<>..fe_ /Jf1'(0i1U'S {(A,·f,·l'tl      or   ref1.t.l1'n~ h Aflp/j fA,._Jtr pe.rfoTM 1 or        (Ai,...Je /.r, J.e.11e.rl'.r;.,e.e/1 14~

         "c.°"""""'",.{-'J   {ot./ o{ (4re" v.I'_"" /Ae Ar.ro11J Vl'c.f•""'•"z.e.J /,j                    ~rbon       ,4("'10.,c,•/e e..-,<140J"'n?o,'·
        J'on,'ti1 $(,\cJ, 0.$ I   t.J flof lr'IYtieJlo        #.e /'"Of'V 1/ttl/Vlet.Je /V1     ._/.•ul lreAtv. /ln ~ 13e.rlorp?6.nC.~          0   r
         fesh 11or1Y10//:J tVJoC.1'0.feJ kJ,...ft, ar.1/:r perC,,r/1/1.J Dn L11'c..f1'MJ of (o.rhon .Alon ox,· el~ "l...,r/'o-
        51.A..re~o1'son11'1j1 a11J/cv- ..fo//01.-J ·IA.,/) lr~o./1t;1e..,ff no.-1111#.1/y as.sociofel ••.uH. Cav6"n Allom,K1·efe
        e."!.'fJCSi...re/;.i1u'.so111'nj, /...   inc_/..,Je 1J,.f.11of /,'JMdeJ./..i JA,J,'(a/ flrov,·J~s {St..c.-~
                                                                                                    All./J. 'l b.O.~          tiJ
        J?A.s 1 o.11J C/..f.P.f) AS we.l/45 .f.t.e meJ,'c.A/ 'jJei.e«;'erf "wl.o de.fer,....t'l'I« w/.,·c.11 A.·sotie.rs
        Are a.l/owe..J h See. o..1~f,'c.1'0.1'11 MeJ/u../ J'odor1 or lJ/t..er ic.....a.h{;J meJ.•c.-./ fle.rJonne./
        t;,nJ~r spe.c.IA{1'$f5 ;n tit'\~ 1'7~ctf.'c. /VleJ.·c.o. / Cel J

• • T/.Jl. lfnk11;o1,.u, / IJ,.,,.Jev.,./,-/;ecf ''Jo~" /~"'-e. Doe '' ttrc.~dec.fv..,-o.,f Ja,jn~J anef),.. e.-.Jl~ ee..o1
          f.~r·t~e-r i.J,-IJ, kie..'r a.3ev,cJ (-t'~sJ 1 rei10111s,•t/"i.. /...,,. .f.l,Jl. Jefec.f,·ve./J Je~1jnul o,,J/,,.
         e111f11e.e.rJ sfr"'dw-e C-0/o/!Mol\/) /4-vown <a ((([' anJ an~ s;,.,.JfAr/~ J-e1i3n.e..l~j"ne11.rJ
                Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 5 of 31



       '.for-/'rof.-f' Correc.fiona./ .£a(,.f'J .fv.c../,ci..r1 /,"'f11..f /,'M,:f,,ef ./o te«. C.,,,.~~'. t'orrecf.'"on,./
       ~c.,-1,-f~ (•L (.{ F'') a"'/ Morfli t6.sfer111V.1..>M.e.1C,.c.o
                                                                  /Jel-evi/,.o,, ;:;_c,·l/f~ (i..IENA111JF'J
•• 7/.e tt.k~1t/lf111·Je"'h{,e.J. ~"',./Je.r{sJ/eo11slr'-'c./or6) of fl..e. t°)~.r/co.I /'~,.f eo.mMo"'IJ
       k1tow"     AJ  ''(v.<AJo../'-'l'e ~~ C-orrecfio11ttl f;.af.·f'J "(6CCF~ /oc,,.-fed 11.f Se.nf<.. Ro.rcy
         ).../~W Jl!l.t°tC/C-o;.f-or-#,._.,. ~/~J, fl,.,,_ 4.CtL..A/ ow7 ~,,s ol411~ /, ....JJ,·,.Jhonrlrf,..<..l,'Ot/\ Co"'¥14t"j
                                                                              1
., fl.// l/r.'4..ow"/U;..,ilen-1-ifleJ Jo/,,... /J~Yle tJoe ow11e.rls) a,,J St.y:Je.r/nfen..Je,.,.fJ cf ./l,e
        fJ~Js,·uJ f'/,_,,,f ft-ot.Jt. 4J "((.(f''A../- S'anf4. R1:>s"':JNei..;Mf.1dC0 1 w"~fL.er a./'erJ'o"
         or f.JeK"SonS t:A Cor~orAfiol'\ 4,,J/or eo,,J/.lvre.ro..1-1011 {/."DJeifte.-v- 1..;,-1/,. ;-ff "/Joo..rd "} a /ti'!.,.,.,._
                         1
        C ,·f' Au~ I of' o./-1.. f,y'
                                                                    11
 ••II-/( lf11b.,..wn. /l/,.,-deA1.feJ "'Jo/,"' /JAM /Joe ()t,,Jflf,y (s} o._,.J $'"Y°ru-1'rJe,,,..·Je...IJ '/, .{ fl,~ ree./
        fJ''VleA~ Al>C....fin~ ././..,. cf~fec..'1ve~ JerijnJ 5'1-,.,,._dv..-'l. Co/VllVl.M/'J J.n--o'-'"' e...J "('( { F ''- ct
                                         1
        flr•'V"'-{e_   '~ -11ro{,'f 13rt'.Jor.
   an;}_;
••,A."'] o/{e,,r }{,,know"' /lf~,·Je,,.J,-{,-eJ pe.rio"                  or jJerJonJ   ~fer      e/eferlVl1/letl   to   Ao.v.e.   A1;.cf
      actv..o.f     or                kn,,ow/JJ e. of /I.e. ry:'e~1,'vtt ec1e....6 a.AJ/or e,ol.>ode.s of,
                           CoPt.rfrv.J;ve.
      Cr...rbon Jt1on t> ~,-J'l. ~f'O.Sv.re I /Joi'JOI'\ ,',,1 4..f G( { /' d" /(o,. f,',Yi,'4.--f:i Co'1.fTr"'ch.J l<>lf'-
      ;ro {,'f CorreJ/0110../ .fo.c,-/,'f,'e..J 111.J<Adt'r.j /,J~ 0 f-ft'MdJ /o L(C Ta"d NEA/M/jf""
              1


       w1'fli    s-,J.'f,·c..t'b\f powu- a,.J/or 0.1.~IJ.br,.f'J! 1.JAe.:fl.u-      Uor o{ (JIAf~) /At..J o'1' '~
                                                                                       IAhJer

       an.] of-1..rw 5c..pu-/r,fe.....Jenf a£,./.t,o,.,.f'1 {sv.c..J a...I1 6d "'of /,~,..feJ /o He t°er.Jo,.ne/
       eM,p/''r' bj /u.,,lv Sit.ff. of /./e.w )fq_;c,'t,,o/ n~ 6 co 6ro'f:'1I.... c.; G,,.,.z.o,,/ LL ( .i CAneftu
       ot.,,11 ~'{j~ PJ°e<~r& )1 "'1~11 J~&~ d•re do~~ 0.11.J/:r S'fOW/"'- fe.-.,J_e~f..f or fl..e
       f'h'JsiuJ f'/4.1'\f o.~d(or ,'f.t rea./ fJro/&<-l"J} ft. aJcfre.1J anti /'e.6..JonQ.I,/~ at.f so                               a..r   h,
       ~wo.rf1 <{I/vi; or f't'ellE.41\.f on'l              €.(lf!#'.ff   of {o.rbof\ .Allont>)C;Je E.1<~oJv.re.lpo1'.loni'nj of:.
       )ff.lfe /Jr;·.sonu-.J -inJfAJ,'t'\1 /Jta,..,.J,.ff_               .e.JCf~J;"'1 .froM. //..e hrJf /nif.,..c-e.1 ) ._f ~,./,""1
       br re~J,'n, ./-r, ~)(erc. 1 'Je. 5c...cJ. fJOWU' a~t:flor                              t.v~e.l/.e,r hred/'J IJY A.J 4.
                                                                                   4t;.}f..or1"f)I
       "'w~,'r/./e.blowu;'" a.r.'1                   "°~r.·~u.f;,.~ Jo 1Jr
                                             t/..e.reb'j                                   ~.n, ./l..e eo,J,-,,'1.6.ho11 of
       Serio""-S ri'.s/l       t>{ 1MMl11e-.f /,6..rJvt/ ,'j\jl.llr'JI 6,,.J~,. J~fl..               at Sf~fe      /Jrt'Jo/1.M"J/    ;,,,/,,.J,-..j
       /J/,,.J11 l.-f.f.

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                       PRI-SoJ..1£/(5 COAJJLAINT FOi< 71/£ l([lDUf !<.Y
                     OF DAAA6E5 (A-l/JEJ) /JY lllt DEJJffVATI o N
                                       OF UVJL                            ((I611T5
      /J/a.;n./.-f~ f>tD~b J. A.NIA-~01 br,'11js 11,,..J t,;vyo/11.,'"f .f..r Dti.IVIC...je.J C<A..."-.fel 6J
  l/,'i 111•0/,,!1 or. o{ /..,'.J {.ivlJ o.n/ ConJ''f1fv..f,•011 ._/ R1j k/-1 .' ,O/d.1'1·/i-·/{ 5i..bw.,..,·f-J tfnJ {,feJ
  IJ.,'f f:o1111p/o.11\f CAnJ.er /fie. FeJe.ra./ (,-~,1 ~,-7Af:r A-ct 6,,J ./-1,e. Con.s-f,...fv..ft'onJ of flt"
   l/11,.fe.J Sl-~fu a"'el Me J'lo.fe of Net..JAe.'!<t'c.o.
      t'fo.;;,J.-lfa./Jo hr,'"jr t/6/N\J v."'/er /JewMf..~,'tb uv,•/ at1.J/or Cclvl/V'lon /6.w.
             Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 6 of 31


        P/Ai11~,-.(.f A-/>'IMI> a.S5erf.s join~ Ccnct.Arre..-d; anl~r St..Cle...sJ/Vfi.. ho.6,./,.f~ '-'P""' ee1.cA ,,-{ fl.e.
 lorffea.sorS /11 60.fh Me.t'r <rof..f,.c/6../" l4;J4.Cr'hes tf...f tve// 4..S ih //.e.,'r ';,.J;v,-Jv.~/ "l(;u/lor
                  11
 ;er.Son./ CAf3D.C1't1'*-.J 4.J' e4c..~ iJ or iJ4.f' l11 ~ l'of.'flon of S"oM e. a.u.:11, o,.,.f'J an J /,6J he.e,,
 {Jf!.lf.Jon11.lfJ in.110/11e,J a,,.~~r 6..t.Jo..re of /l..e. !,./~. f/,r12Afe,v'11J ;arol,/e/l?~.:/,·c /J.rne/) -h "- d~(jre.e.
  StA.{(.'<.1'e"'f oh esfo.U-rJ. ti. kjt1/~ Ct...?aAUe. J'"h.fe o{ Mr'11J "".{ ~4.f re.so/"'-fe./~ ref<.o..re~ fo
 6. vo;J ./l.,'J {l,~o..flori (w~ e.1-i ~ o.ff/rlVlo.f,·vef'J or /Cif.f,'l/e/"J) 6~;

 1} /e/.·be.ro..fe/J ""J ,.,, fe,.fi,,11~//'1 -'4,-/,-,.j or ref"-Sill' A 11rofe.c.f fla.le. Pri:.soner.s lo"" 1-\>tMCUIAr.J «,..J
       ..fore.Seeo.b/e hD.r~
2} de.Uu-JJ~ ti¥</ /,,/~liM~JJ., J;.,-/,-,,j           er -re!s;n!   fo l'rofecf .Jf,./e. /f.,'.S"cner.r £.o;v. J4-tero./    c.,,.,Jrf,•on.s
     ot contintMe...f f'o.st'nj            ~ Jv.Ld«.11 ti«./ rt.rt rl Se.r1'ovu l.w,.,.1 i"}t.o.r~J a.hd~r Ju..//.
3JJe./.·l<.u.te/~ J;.,t,·11, or refw,·11~ /,, Ye.Jvtove 516.fe. /Jr1"J011eKs fro/or. &.>t/,·ft'onf of c..onfi1te.Jv1e.-,:ff'".slnJ 4'1 ,.,.,_._
     11e.;..fr1'$k •t 5e.r1'0'4.C J,,.rlt'l1 i"J'IAr:JJ a,,.Jhr Je• ./J.
l/JJef..berAfef~ refw.·n1 or o-Me..r1J;.se f..,,/;"1 -1-o /Y1t?c..nir,1{v./~ a.Jlrus 4,.J/o,. re.ct·~ l/.e co11J,-f..onS Cre4.·,,j
     er jt'V1'"'j rite lo lte. S1.tbJd.nf11./ «n./ tivr/1'11.,,eil r,-~k. of S~io'-'S A1..r1<-1/t''>j'-'r~) o.nJ for de.Ali fo ft e
      (J/a,.f} ru;Je.ih                                                  ,
S)Je/.-be.r-JJ'J an.J 1'ntenht111i~               retl(sin'\ or o-Mer-wue   -{:;/;h1      to proviJe     a.ffecleJ fiA.te   /Jr,"Joner-J -
     l11c.f,,,_J,-"'1 /J/0.11,f,-{{ -    fl.e d1J.r1.J..,..J. a11J/or c,o.v.1v1111n,-f~ kv£./ of 1V1e.Jic6. / ar.J~r f'Sj clto -
                                        ..,;H,.
     /oj'°'u../ care tto-rty11t/~ a..fforJe.J fo v;J,·J>V of: ~rj,o,., Jl/onoxtde ~l'osure 4"J1'.- A,,-.ron"""1
')Je./.-bero.te.~ 4.nJ ;;,fe,,fi'onJ/'11efi.J,'n~ or 1i-/l,e,r/,J1'se fa.,-f;n1 fo 1rovitle.. e'/C./lose~ 1'0,'.sc:o11e..~ «nJt,. o./l.~­
    wi'se. Affec.feJ fl-o./e. Jf,'.ro¥ter.s wifl.. "'"~ Vid./,/t. or ,.-iea..n,'njfu/ tHlf!.r\"'-e. ot aJNii>t1'rfr6.../,-~e nJresi1
    reme.1~ 1 or re/:e.f o.~o.1'hsf a11!J uf H.e. e11is0Je.s1 ;,.r/.11cf!s of ~c+c...A( U.rbc1i .AfMuile t'Kl'oJC-4.re /
     PoiSM/l\~I al\J/or :/I.e.. £,v,Jt.rf~;h1 Co.L(Je. ot t/.e /..xi(. ,,,.,Jfo.,,. 1olent1"6.ff~ ~e«d/~ fu1V1e.J
7) Je/;berafe/~ (}.JoJ ;,,/e;,f,ono//~ 1'eft.Si113 DI" ofl.~n.>t.Je. .fo.1/;,,, f.u 1roviJe. a.f-r,"..f~ a"el/ot'" a ffe.Je.i
    9ate. Pr.-sot1er.t Wtth a,.~ Vittb/~ or MeA.nil'l'{,,J av~t..tE. o~ <A.J..,-11 ,•sfro.ft've reJ;-f.J'l;-ov•e~/ o...- -rehe(
    A,C. inillie 3e11.er4.I Co;rklo'15 of c-i(,'lle.Me11f {At.J1n7          "" jt'll/nj    ,,'.Je lo   Me. su./,sl...nko.I <VIJ )Jt->Mi'1e,i
    rtsk of se-r1'04s ho..rfV'l1 i,..,jv.-r'J 1 4.tvl/or JeA{i
a.11J/or
S>)oJlie.rt..J/$e_ J.·¥'/«J"nj a .Se.Ilea_ "'"J recklu; kve/ of '"lel6e.r. .ft. inJ,·{.fe.rfU"lC{J /., or.{.,,,. 11.t. ,.,,fey_
    esf11 heo./.J/y sa.fe.f)1 O'I" .j&\e.ro../ we//-k,•,.j ,,{ .{/4.fe ,4.,'Joners -inc.lt..tl.nJ Jt.,.11f,.fl- t..JAe.rE lie Jo..,,.M,
    injtAr~ 1 6..11J/o,,. ;-,"ft ot Jeo...-/1. (.J kMi,.;,, a;i.J for-e.$€eo.l/e 1 a"'J w/,e.-re,,/,,,._/.-.for Me.H. a....,J
     ofhfA' 'l,·/u.re..s/ 5/-.:>.te flr,:ro/'lt.rJ woi..tfd n.f di/ ~e. .JIA.~'eJe/ .f.o /../,e. A.vile. lvt'nJ and /~fen -
     f,-t.ffj lettJ/J c..onJd-ionJ o{ eo11f{'1eK1.eY1-f.




                JU!aSbIC7.IO/...I                          A-ND             VENUE
r, 3t. . r,'s"1·Aionover Ike St..c.bJec.f /V'ltJ.#e..t' ot -Ilia o.d1'on i.J Confel't'eJ) ~J l ~                             u. s. c.
    f l"~J/ a,.J f /3 'fJ{3)1 a_,.cf 'fl If S. ( f /f5J tI11/ lf'if. ~Jent jc....>'1'JJ.•'-ofio11 eK."sfs                      11.S   ../o
    5fAf~ /6£.J cl0. iJvt f.
                                                       -(p -
                       Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 7 of 31



         /0. /i,'J Coi...t' t A<>J Sv..bjeJ h-111.Jfv • ur1'JJ,·c.fio".
         IL 1i.;.s c. . . . . r Ao.s J· ....r-,·d·d-,.on ov: fhe. (JMfitj a.s 11..e ""'Her a.r1'SU ft.oM f!o..,,,i,-ff; eonf..,,e-
             Me11f a f- /1-e 61.A.a~/iye ~1,.,1~ ~rnc. hon<>-/ hc,·h~ a f fa".Jc.. ~O$t1../ /\few fi'fex.i'<.-o a"d a.I/
                                                                                                                  1
                 ;o.rfleJ t:lfe elfltv lnltu,-,fv,IJ. & L..JorKi11j or re.s;J,r,J il'I      New    Mu;eo      or Cor/)oro..f/t111f /o,·nj       "4;-
             ne.fS 1'n a11rf/or w/"1 l/.'l )'6.f-e ot /Jew .Alfex:,'<-o.
        IZ. Ve.,""£ If ;iro;.ier i11 /l.;:s lv..rf 4J a.// ot H..e e.venf.r k1t./,.,., ~f' .A,                  fi,y    /4c..u-c...,.f t>(C.tJ..O''<J
            ;,,, N'lw M e.x:ieo.
        /3. In         Ii. lCov-JAnce   i.;A-/i jJL £A     re3v.1're/l/l.e.n.tJ1 /J/o..,c,, /,-{{ f.ttr etcAAIAJf~    or  q-/f~l-eel ..J..,,
             ex~c..c....ff eo..c~ ei. 11 J ever~ l\venue.      ,J aePIVu'n,'sfrAflve     YE.MeJ~ a.vo.do.Ue .fu         Sftife ft.;s-o,, e-rJ ""'de.Y
              N MlO Po/.·,~ / /JroceJ<-1re..



                                                       !A!CTIES
        /l/. /Jk;,,f,-.fl;   /J£o~o       J ,, l&Tc ''        AMA-~o       l.s ",,   ,·,.J.·v,-l""o./ wio t'r    11    A./.r""e.r    ll{   l~e Sfo.fe
            "f Nei..J .Me>eito ~n£iteJ a.f fl.e (v..r.J,J~e. l.<-1.,f~ 1:-orrecf,·on./ ~,~,I.A "~{(}'') f ~~la.        {               4

            Ro.s"'; Ne~ ;fllex,'Lol wt'~h lie {M.-1.4~ "''"'1 '""' or IVIO.l'IA.rJ 6~ n.e 6 t:o {ra ...,o/ .]:,,,,./ 4.
           l'..-.,'v41fe for -fll'o{;f ('ri'.lon -1r10.n4Jewte.nf (ol'/Jc>;'Q.hc11 tlotvis btAs:neJJ Jn 6.nJ L.>1'/i, fl..e
            {/~..fe. of /.I e.W MeK.-c o.
        IS.At d./J MAferiu./ ·hMe~ Defe.nJMf f/6.fe. cf New Aexi<-.>, /,'J '"J IJ.roi..3J. /fj of{;c.e.+"I_;
           Ji'redors1 eJvt;,/o~e.es/ «J1V1i11/:)r<>.fors1 ~, e.t-1f.s / o~Jlor "YJl'Me-vi.f ltJEMf.J - #i, ,fclle-r11,·11J (boJ1 -
                                                                                                                                         1


            wa..sfJtHc...ft~)feJponti'h/e V.l'\Je,r u.lo.-. of /Aw: 'lr #,.e ove.ro.lf Ccndtt,•onJ of' Co11£'11e.m_e,._f It.
            1'hc/i...Je. Ju..e. Co.re. .for Pr1'.sone.r~ ,.,,fere.sf.s.1 heA./lii anlfor so..fJ-JI 11.ml t.;e.//-/,e,·""~I o.s we.// 6.J
           for ~s"r,'"1 flio.f /J,,'.J'MeA'S 1 meJ.·,,../ nee.JJ t;tre "'"'et"'A.feJ~ 17ro11.'JeJ /;,r o.nJ /VI ef wdJ.
           IJ..e. lAIYIMCAnlf~ /euJ of urej~IArSIA <A"f -/.-. o«t'c.,·o./ J,,_/,-e.J' t...1<.Ju fl,,e E,j/J-/., A-µievi/M.e"'~J{.,',,
           fo..·/i...,e.(1) of,...+; a.~e..A4s .J-o ~dru.tonAIJ~ iii 1-1.e .f-ce of ~~l"'o../ art/fvr c.ovi.rfr,,.<.-hve.kyr.,,,,,,/edr.
           of l11d~11Ce.J <tr..J/o,.. re,oe.fifiv~ eve..,,,JJ of Carbon .,Mon.ox/Je t~oJt...r.e//Joi'.roninj of ff,,fe. /J,.,yon-
                                         +
           et'S/ "'"j fC...r.SL<o. .. lo .flte dvc.tr,'11e.s of re'l'011Je.o..l Sv.p'¥'1or1 ~,ev,,J er °f°l'o.re.-if o.~e.nc~.
        /~. befe..Jtt"t {l.t.!~110.. MMfi11e?- 1 6ove.r110r of .fhe. S),,.fe of Ne.w /f4vr/t.D 1 ,·.s{J.·rec.f!~)re.sl'ons,·ble
            4,..Je-r eolor o{ /(A"" .for /Jrt.1011erJ of lli.e ~f,,.fe o.n.J io..s c. J.,f'J v.r..Jet" Me E.·3U-h A/VlenJ1>1enf
            fo l°'ov•.Je S-h..fe R.,sone..rs - inc..f,,J,·,,,~ /J/a,.,, l,-ff- w,'f/, li111,,,.ane eonl.''701\S or c.o11f.ne1V1e.J ft>
             1'nc/i..Je 1 tJ 11of /.·,.,,,feJ {o1 So. f e Aof.,.J i" l e.,,, v;r-i.r11v1ef\.t..1 o.ncl aJeK''":4.f"2 /VI eJ1cA/ "'"' J/cr
             1s~J..b/ojic4./ co..re Co"'1me111s ..... ro.fe t.J,..fl, ft.e 11or1v1«./ sf6.11.Jo...,.J or leve.f ot loM"1'-""''.f'J Ccu·e..
        17. DetenJa.,.,f /3,·/f ~lc.h4rJfon1 .f1>r1V1w6we..rnor of J.le.wP1e..'tC,'c.o 1 LJA.J (J,'reJ-11 } Y-e.yori-
            s,·L/~ v.nJu Color of /l'Aw .fo, Sfo.fe. /Jri'Jof\U J av..J A"'J o. J~f'J u. .... Ju- f4e tt'j 41-li A,,,..,,,,J-
            h?et.f .f.u ;rov,•Je          tk.sonVJ 1..J1·fti hl..Ma"'f c.onJ,.f.•onJ of Co11f.·"e.1V1eY1.f ./,. h 1c.f,,.J-e.1 f:i,,..f11of
... .        /:1v.tfeJ J;., .5ofe       l.i...sin~ e,.,...1;jton"'),.,~fr 6.11.J 11.Je.tv..1t1e 1Vteirc11.//pJ''J c.ho/6fUA/ CA.V'f!. •
    18. Def~Ja11-/t) JJ,,/Jo.ne. /Joe {'J.) are till'J o./ie,r                 U.ktt,~WYI a"'J/or /t,,.e!e_.,,-l/;eJ/~>'JOllJ
           acti'11i or w~o A...J ac.feJ ; 11 fl.e /ace o. 11 J(or s.fEAJ d{ bove.-nor uf /./ewA~/Ct'c...o t.HH,
            C(!IA;· ec..:live!J c.i...f;,d. /Je. ~le. 17M/n.I ,'V\ >"C.j'lrJ.1 ~ ""'~ (J.f I/, e ,.,,.;l n<e.J /f.llJ/or e11t' -
                                                          or
                                                                        -7-
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                'f,,r -tJro!.-f' c.orrec:.ho,.._f l..al·f.·u 6 { L l t.. ! an.elf,. l..IC-NJt1 /J F.
      pr111u. fe.
l5. bele...Jo.11.f /t/e.w )/[e>C/c,, /)ef'<J.,.f/11\eJ of C,rn.J/o,,J { "tVj111( 0 '') ond ,./} a.JorJ~eri/s ;,, ti.
    pos:hon of (((1,J·lior/~~ dVV Sid.le. /Jri'Jo:vJ -,.,.c/,,./;"_1 /)/.,;,{({- ""'j oft're.c.f1 Fefdon.r,·/,/e._
   1.1nde..r eolor 0 .{ IAW -l:r S+o..h PriJof\U-J c-c11hf;ol'l..f 4tc-oh f/neJV'leJ; /J,.,".JoMU".f I ;,Je,yes-ff/ AeeA. II-it~
    S4fef~1 4.11J/or ~ene.,-11../ we/f-te..,'lt"Ji 4.J t-JJ/ ~ {.,r aJegv..Afe~ 5'-'flf'~inj 1A11J/or ~.sc...r/n l 1-/.e
     COIVl,..,1M'll'j)     /.e..v,J ot Co.Ye           for     eo..c/. /Jr.)one.r S Mehr_A/ 11.11J/or /U'f/...,/031-cA/ r?ettdf   .{'.,,,. /.l.e
     Ju.r•f1'on. 6 t An 1 )-/6.fe. /Jr;·.ron e-r ~ Con fil'le/Vl£••:f.
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2Co. De.fe,.da11f 6rejj Jt1-..rc.,,fe/1 fecrtLTM'J of tirre..cfloM 1 ' 1.s /re...f/'J reS/°".rt'lo/e_ u11de.r ec/onflo.was
    ''Ca.k.ne..f fec.refa.r~ ".Cr fl.e CMJ.-t·o'1.J of w.[ne./V'\e,..:/- of ,«e Yfo./e ~ ,4,'fone.rJ//lr,'JMer.r //,.fer-
    ~ ~eQ./Hyso.fJ~ 1 a,..J/,r JfNl.vA./ t.1el/-f.e,-,,, M we// 4.f for dell"lt1ni111 1<.11cl/tY' 6f'l.Jl.\l't'n' fio.f eA.cA
     ft.1'sonu~ 1v1e/,·c.6./ t1.nJ/or fll~cJo/Olji'CA/ neec.lf a.re a.cle3i...o.te.~ S"l117/.·e.J lor 1-.);f/, l/..e CoMM111n..IJ
      /e11 e.l J CA.re. .
l7. Dete..Ja.#\f Joe lJ,-//,a/Vlf1 /..rMer '#.feuefo.r:, of Grred;mJ1° wl.o tJA.1 j,y.ee.f/J re¥011J1-l/'L ~,-,/er
    u.lo,. ot /(>.,,, oJ (r{"'t"'•ef .f'ec.rela.r~ '' ..C,,. 11.e c.o,,J,-l.·011.J                  ,,r
                                                                                     eon.f},,UV'le""f                    or
                                                                                                          !I.e. Sf"'/-J- ft,...,a11e.r~
     P,.so11er~ ,·nfve.ifs1 heo..1~1 safef~ 1 t!(11J/o,. 5e-~I uJ/-j,e/nj o.s well a..s f..r de1>1«11J·,,j er,,JJ.- e.,,.ru.r-
      ;,. 1 #o.f ea.c.A /),.,'Jon tK s IYlel7ea./1J~d.. Jojl'4./ '1ee./J t.tere 4k/"'o.fel~ s"r/J,'et:f fo,. t.Jdl. Ike.
     GolVIM"'-"'•'f'1 fe11J cf a.re..
Z<J.De{~JMf{f) ~Jt,J~/J<Vte. /Joe_{-FS} are. a11J o#et-- Unknow"'.,/l/,.,./~f,-{e.J.;ie.rson.J ~d.~,j or
                                                                          11



    h11111'11j <HfeJ v.11Jf!/r Co/or of /a..t.J /,, .//."- 17kc.e. anf'or sfe11./ o{ ~crefar1 t1 lorre.J,·,.;,5 ""J;t,.
    f/.etr Du13110.h{s)l,o..l//P1~ t1dM/ er Co11Jr"'-J,ive. k11-01,.J~c1.e o{ 11.e lo.rbon donoKt'<le. 'l/C/o -
    .S'4ref;,01'Jol\,'nj of a"'~ .[ft:.fe flr,Yo11e.rJ al 6 {{                             0
                                                                              l L ( F; or ;<11;--Jl,,4// /) 11.Kfl!-VIJ,'"'f  0
    troM /1.e firsf ln.d11.nc.~ of a.111 S""'-c../.. iqcl' 1~n-v·-et/o/JDl'l,',,3 1 /b /vic/i,,Je "'"'j '' /:Je131A.f) Seue.t<AY~ .
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2'I~, Defevi/qnf Jerr~ /( oa~~I ''/J/rec.for ,,{ lfJ,,..(f /.J..,:rons/ i.i Lt'ed/'1 res,,o~s,'~/e. ,,..,,/e.,- c./or of ~4.,,., to.s
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     D;re.Jo.,,. ctA/,,.Jt 'PrisoM .{;,. lie c..,,,.J,.l,·Ol'l.s of eo11[11.e.Me11l 0 r f~e {f.1-u f1,.,"fo11er-.r) /}..,'Joh~J
    ihfe.res~ /,eo./fl.)sa.ft..f~ 1 4tid~r jt.nerA/ 'Je//-/,e,'11~ 1 'l.f u,,_// t{J f.r e.Y\.JCAr,'ll~ ./l,Af €4.c.t .t?r,::!one.r~ MeJ.u./
    a11cf/,r (JfjJ../,,~lc.:1 11eecf.s a.re 4Jeb"",J~ ;0rowrle.~ f..r 4J1''ili ~e. C.MMb\M1 /e.vef 1>{ C4.Y~.
30. l/1vt Le.A~sfu Depuf~ Secrdo.rJI of'eKtJ.ltoll.f i.s- Jh·ec.flj re.r,4onF,'Lle v,,,Ju c..olor of /Aw.(., ... #ie
    ioriJ••f:oN ~{ Conf,'neHte.-J of fl,, {f ttfe.i Prt'fol'I etrf 4.J we../f A.J './.,.... /,e.,.,. ~ flf,f'JonA/~ ,',,,v,,/11J u,'fJ...
           AA        (/            ,,                /I
     f\.(;v1CD ()r.'e.v"n<.e ~r"t""" a..~J ,'·'f.s-· l'r"U-'f
3/. De.f-e...Jruf{s) ''John /J,M /Joe ( tt fc)'' (.(re tl"j oft.~ IJ~ k..11-own /(111 t'/e;o f,-{,-ee/ ;;erJon.s eu:.f,.,,j or J.1;,...,,
                                                                                                                              11
     a..c.fe..cf u.wlu- e-..lor ot /Aw ;11 fl.e /'/He a.11J~r sfeo.J o{ ,, /Ji'redor of AJ,,..J-f /J1,'.lonl .(.,,r Hie
    9-4-/e ri' )../e.w Ae-,c;~ o.,,J/or f/ie,'r DeI•j"'a.~U) e;cf~J,.,,j froM ff.e .[,.of /Mfd,.c.e 6.( 4£111~ f6.,l1on
     MoM)(;/e e'10J1.ore?oi'S'0111'111 of ""'l f/ie flrr!tonu                         i   ClCF; lC.C~
                                                                                           NENA11Jr             or
J2.. DetflNIJ-.,..f Lo..rr'J. A. PJ.,j/,'fJ.J1 NM. CIJ "Ori'e.vo.nc.e/L>,:rc'/1/,-na.r~ Al';;eJ.r Afa"' ~~ 1                                  ./,•rE'~
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                                                                                                                                       ,'.s

     r€rf'of1J,i/e         v.."'Je."    eolur of           /o..w .hr   tro,;;cl,-,.~"' Me.._,,,'¥f,{111./
                                                                                                 ot nlre..1.J o.n.tl/r 1A/J111,·;;;-
                                                                                                            a.11ent-.e

    fro.4.·11e. re'"':.eJ'j 11..1...-./V..6"\+ lo }..(.#l(D A/,.,~)flruc.eJu.~~ ,'n rer,.J.t ./.,, t?VU"fi~l.f-o{ ,</,Mc_ /J .f
     G.,,·~vaV\c. . . pro ro1111 1 a.vi.J f.o, ev-.sv.r/n j ft..< r,~lfr .{ JEA.e. 13 v-uc.e.JJ JLV': .. 1 11.e ~.-] . . {) r
                                5
     l"•fOVl        f-.rt'eVAlll (t;._J'l'<:>Ce. e   cf,',,, j..S.        11
J3, Deft?,,.Jtt.nf(s) "John /:1ri.e.. Doe (#J} q_re ~"~ o/l,v /./,, k1101..J111 /l/,,;e/e..ff!eef le.rJcl'IJ a c:f,.,.,j or
   h4111ti1 a.J-eJ 1,4.,.Ju eolor o~ /4.f,./ /;, #.'- 13/qce a11J/cr du/ of o" )/)11{1) (;,..,·ev"-"<.e/lh'.J"ct/'/,'1M~

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           Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 10 of 31




    Apl'e.~.1.s .M4110.~e-r'' o.,.J/or /l.e:r f:>e.11~,,,,fefs)e..J.e.. J,.,,J fro,._, -/I.e.. [r.1f/,,.rfa11r_e. °_{ to.,.foo"I Jl()flo1('"
     lie €)(1osure.~ol.r0J1i'n~ of 6.11~ fl-.f.e flr,'fo11v afeflier 4CC.~ L[Cr; or R/:N.fi///)f.
3'f. DJ'ev..~f- Ja.1>11eJ R. "/Jret..J.sfer1 /J Alf C/J ''6e,.,,. e..rA { {,,"',.se/. ''
3). De.te.r.Jat'\f A"jJa. ;#, fi'1a.r/,·11ez../ "l/e4./ll, Jerv/<..ef Ae/~/n 1 '.rf,.Afol" { "/IS/I- ' } otle.r-
                                                                                                               11           1


     Sfqfe_ of ).Je.w 'AAe.x1'"° f..r Af#/(/)1 J,·,,.eJ/~ re.¥011fi.IJe. v.11Jv eo/or of /a.w .{:..,. er1SL<rinj
     6.111~~ Je/Yltv1hn~ #IA.f )l.fe. Ptwone.rf are. ltor..Je.R in an eviv/ronNlen.f fr.E.e {roM fox:<..
    ConJ,·ho11.f ttf well M f..r over5ijl.f o-f- /1.,•son ~~ ;"fer~ Au /1/..1 5._.fJ~ 1 An//,r j evi e,r-A/
    we/f-be,·11~ 1     o.nJ   ft."'fea.cA !ftsonerl IY1J.·ca.f   411.Jlr;;J~c.J,/o,f'C.11/ 11eeJJ ar~ G.dep,._,_fef'f syl'/,.,,_J
    for wll-Ji fhe CoMMV.n/~ level o{ u.re.
si.1JJE¥1j6."16) ''J,,hn /Ja"' e /Joe. (il9 j 11 are a~J ofl.e.r l.fn kno/,.Jn /l/,. ,•/en f,f,e_/ jlet".SMS a.J,',, j
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    or A4vi115 a.JeJ IA.flJe;r c..lor of fa..w 4.s rr Jle6./ll., .5erv;·cet AJ/Vl,'11,'tfra.for 111..11.J/or <r(l,,.e(A/eJ,'Ca/
     Otf:c.e,y- over JJew A e'fCic,o ~r Ji./JVl C61 I /or If.. e,'r /)eS,~110.fe.U JE.d-enJin1 {,.oJV'I #ie.
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                                                                   -.11

     f;rsf   i'Mf6.r.CJL ,f tt"'1 D.r~bl'I .Nfo,,,.o'/(..le     (!)tjJD$V.Tc./;Jo,'JM.'nj 6( 6"'~ ~fofe /J,,'J°"er J-e,l/..e.r
    6Cl 0          Lc_c_r; or )../Cl-fflf IJF.
37. De+ev-.J11."f "Y. ~1'vera.~ ''/1.C.A, ,410,..,.f,,,,/AJ,.,.,·~,':ffro.for ''(.{.,,. Sf~fe ,{ f.lel.,)Me.tciw-
     Alfi'l(~J at 6C(_f; /,•reJ-6 HS/oMi'IJe. t<nJe.r cJorof./o.t.J for regc..,'r,''1j Ifie l'"''c/afe hr-;irof.,f'
    /Jfi.5011's   a,J,,.4{ C-olrtf'/,'ance w//-1, u~    furM.f "' ,./-}   C011fr4cf ,,.,,-1-J.. J/ei,..)/t1e,c,'to   '7.J   t.Je.11 tl.J   /.r   k~
    (JNS011 1s ad1.o.~( c,,,,.,.;J,-..,.u. w,-/.ti all Sfa.fe a,,I hJu-._/ {A.(.A.)reat...i'Y''llVl<Ut-b a.,,..Jre~i,./o..­
   hc11J re'j11rJ1,,,J c..orfineMe11.f of ,4.,'Joners M1J /l.e umJ.fiOllJ 6f ~eu'd c.o,,,{',·ne1v1eJ Ii,, /"1<-/,.,.Je,.,
    h1<1.t MT 7,"M,·f;.J h {j)ovu.r;~/,.f- f'efj'ons:b,·t·f~ f.,r ,4,:s-oner} ivifuuf'l AeA././l..J J4{J~ 1 a,.,J,ir jeit\tP
    u.{ we./f-bet'n1 a11d (!).;...,, etl\ft,\r€ I/." f .PrtJonerJ IVfeJ,•c"../ a1ttf/r ;;r~c.Jo/oj/<.4/ 11eeJ.1 are
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     4Je~u(>.fef~ ,oro111JeJ ~r 4,.J IV/J w,./-~ /I.IL ColV"/V\IA.n1'~ /e.ve./ o{ CAre.
~r. DeTe.iJo.nf ",Mi, 6. {)1>.11e"L; hrMe,r ..A-. L.A. )11111,•for/AJM/"11'.tf-,,.,Jor af t;CL.J; d,·re.cfl'J
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    ru,00M1'h/e. wufe.r to/or J /1.w wi'ft. ovusi3Af .{,,,. ~s·o·,·,,~ #ia.f G{_( F (/{"f eo1••y,/,·J t.J1.fi.
    ttll 'Vl/,'CAb/e fide. IJ.l'\J f:JEA-1..f {A. l. A. Jre.iu.tn/V'le.J-s tu1l/,t' 'l"ej"../o.t/011.s r~1 e1,,,.J,·n1
     #,( wnf.·,.,e.Men-f ,{ /Jr,'J'or\W~ .Jo ,;,d,,.Je/ bJ,.,f/,'M,hJ ./...~ tf.e aJt.A.1.f ~,.Jt'l/onJ el-"Covitne-
     M~~ Pri'J.. nu 1s ;,,fuesl~ ~ei..//.li1 10..fe.f~ 1 CA11//o,,. Je.-.er,J /,Jef/-te,·rov ._,.,,; ?o t:AAJ"'-rE. 1/,4.f
     Prt.Sonu-~        lt"eJ,-u/ ~1~clulo51'u/ 11e.eclJ £.>e-re    -.Jt~~JJ~ froi;,,JJ ./:.r w,1-J. #--e ~"""""""'"'} 4H/
     ot ca.r-e..
~ f. D.Je;i Jarf {s) ~Jo~v.. /Jo.M Doe (lir) ar-e. «// oft.e--r ,oe.rsonJ acf,:~j or /.Av/n~ ac.fttJ """"Je.r c,,,/o,,.
                                                           11



     J /Aw Jn Hie f/(}.c.e a.11Jtr JeAJ of A_{. /l.{{ontr;'/,o.ttc.e}J4cwitf-or "-f {;,[.(_F trn.J/o,. -M.e1'v-
     /jeSi~11o:/-e{sJ 1 e. lCUC1'S1'11~ 5u..f'Ui•Jev..Je.n.f·c,,,1irol ovev- fl.e. {;,.alfj 1 .A#.v,·11, o....f,,.r.../ ol" eo.,,sfri,..c.-
     five.kn-o...,/e~e o{ tt11~ i111doc't o{ ""') {o.rlooti. Aono~;J-e u;iosv.r-«/1°01'.SoV1t'"'J o.f4./1~ ff4.k
    Pri'sonu !1._y:fe....hn' froM /.I,, f,·,,.sf ,·"'d(A ... of SIA.C..~ su..·d (.JC/'o.Sl.J.rf.l;o1S'o111·n,.
                                                                  (.Ji


l/O. CJ/ec:hv~.J"J I D(J:e.t<Jd..,f.t /5 ftirc.. 311 45 of.f,~c.e...-"S J a.JM,'n1'$frAf-orJ/ cl,·r~cfol'f/ e~/o~ HJ/
      o.~eJ-J o,.,J./or y.>po.re..-.f "'jo},, o.f /J.e S'-fJe. o~J./w M~iw 1 6.c../inj                     1>"    /,e/.6Jf o{ Me (f4c.
      o.nJ(o,.. ;/-} 111+ves+.s, tlr<~ Ae.-rec.. ffv- refe.r,,-J lo ~j 'i /.A e Ifr..fe                   II 6r      rrsf«.h {::, e{e..Jq,.J/'

                ''TJi~ 6GO ht"o"f:').f',,.c./' i'J ~ Ccrf1oro:f;o,, re5trfeft"J .fu do ~IA.f1'ne.JJ /.,
 '1/. fJefev.J1.nf
     N~w Ao't'c.o ...;hoJe. refsfe<"J a.'Jf'of t'.s {)Ai€ Ark lt6te. 1 ) ....de. 7001 (r;l/ /JlJ 11
     SJ~~f. /'JocA J(c.-/.011 1 f'L 33 'tfr7, h~ireoJf-e..r- -re.{e.,-rc.cRl-o a..c "Tf.e6eo 6,,..,..,.,,,,.
                  1
                                                                 -10-
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Lf2. De~J"-.,.J.-                T/..e. {,[:{)   6ro"l-'   t:tt o// Mc..fe.r/4/      f,·,viu 01ie.-ro.feJ f.A.nJl!4' c.onfro.cf LJd~
                                                                                                                          Hie.
   5f... fe.. of ,Ale..w)tte.i<,'C..o or"" 4.j°"'~ fAu-e.of fo (/,.Jc..H- )lroc...J"<e. S-fde. Jf,':fol'l~f 1.:.r-/'rof.f
                                                                                                                                                               1
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   Q (JY/110.f«/~ -rv...tt ecrreJ,•o,.,J .fa..a/,.f'J P..nJ -MIA..S Of'e.rc..fe.r{o...r a-,, a..3'!.¥\.f J .for //,< ffJ'- v_.,c/e,y
                                                           1       1
   lofoY df /d..t.J CtJ\~fo; is J'i·red/J -reyMs/IJe. .for Av..MfAl14L CA.11J,. . f/0V1.J of e-o..,f..n,.1V10..f
   o.11J AN dv.f~ fo .£/{,-//A/( [f,J~tu1J FeJu-o./ {A.UJ.)reiu/Y'UVleA&o.viJ/orreJv./a.-
                            Q.


    flons re~c.rJ.-,.°l     /I.e. eonJ,. .f,'oM o { eorJ1neN1evi,fof Sf,de. A-,'.JM fK"S ;11c/,,,f>,.31bu.f M;f- /.wi,•fe-J fo.1
    ft.e. &'ti..fiMer.J.Me.vJ- 01"'/,~o.t/011/D.f.,. frov1'Je. AIA.Mc.ne.. """'' re!t.live.l'J s._fe. /.·1;1v,, w¥1J.-f,•o;,J
    tree. of ,'r.Ae-re,,t~ d'c..115'l4'"01Af Ji,x:,'c 6..11J/or /l.O'JC/ou..f f.c,,.IV\tUj©.fo l'rov/Je. JLA..41.. Co.>'e .(..,
     Pruon f4" s ';., f e;r11.s11)u./lti1 .J'-fJ~ 1 c..,.Jjo r j e_,,...e,rA./ we.l/-J,e,'n~j A,.J ~of e...-.su.r1'nj fl.A f
                      MeJ,•c..6-f 6.._,J/,t' f1~J..olot_'LA/ l'leeJs 4re./wue ti..Je_8V.CAtel~ St..l'/'heJ for wd~
     eQ.<.J, /Jri"Jonf/rS
     fh"- CoMMtA/'llf~ /e.ve..f ot Co.re 1 AM} AfJ-.. ..f..:.r e.ASl..\.r1'"'1 f/..f- />n'.lonWJ tH'f. f.,Jf'J A{(u,Je.J
     Jv...-.    froc.e.Jf   r1'~/,,f; of fl...e ~H..4,,.J /'{l:h )Mev-J1t11~ ,',,., M~ C-our.fe of- o.//13r1'.IM
    (~                 .,
     ~ r1'ev~fl\ C.e f ('oC<! e.R,·,., j f.      .
                                                                                                         /
'IJ, Af o.// IY1t'Afer111../ /,,,,.,e..s l>etenJo.,,_f- TA-e. {,Eb broLy:J tAJeef 11.roc...J ~ ,-fJ. oL•.MerJ1 600.,.J
     /t'l€/r/l/::H?/.J of{,•c..e.r.1/ aJM,'M.rfrt1.../.".,.'l dil'e.dor~ /Vlo111./..r-J /,Ja.rJerv/ C..rred'on.J O{(c_e,-1/
                      1                                                                1
     mo..t'nftfll.0.11.ce. ,fA.ff 11,.,J oU~ fM.l'fo:iee.Ji4.,.J/o, °'Je-fJ or y130..re.4-4Je.nlJ~c..,..J t'J d,·.-ecfl~
     r eSfJOtl.li/Je.. /:.,,,. /l.e.lr q_          J-.t a.,,J~r   01m'.1.r; oM f'"-r.I"'-O.,.f   ./o /I. f.       /   0   J;.,·11eJ cf ru/' ontle-.:f.ri..;ae-r•'o";

     a.3ev.c.'l or               ~{4.t'J jjeN\C..J.
L/l/. De-fe....Jo. f6) 'Joli" /Jo.n.tZ. Doe. { d/{)} ''ar< a.// f'e,,rJort5 ~cf.1i3 u /. o.vlnj a.dee/ "1..S "- ~emhe...--
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        o{ 1-/..~J!io«,J' of ll~ 6t:O ~"'"1° 1 1'....c.. 1 cvL """-.s/J J,hJI~ re-fJovt.r:Ue. ~,,. -Me ,vio.,,4.r.-
       /r'I~+ 4.nJ of e-r"'--/-iof\ of the.. 6 EO 6 ,...,'?<>; CorreC:hovt o../ f«c.:./.:/.•e.r a."J lot.Vt'ne.JJ l'ohc~ (-/e.1J.
                                                        11
l/S. /Je.ff!N\Jo.11.{s J"Jchr. /.Jo.r. e Doe f#//} 1'.J /i, [,..// Co nsf.-.. ero.l/ol\ cf fJU.lo#'\J J O.Or/'or..f/on.r1
       «111/or Co1>tp~n1'£J uf11'M.afe/'j l'eiflbnJ;/Je ~ vTl.e 6 £ 0 6rovp/./:..c                      o,,.ji,,,. ,~fj 61...r/1i.e.rJ
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        fo/,'c.'J {-.h.1)1 VJJ.e.fl..v 4.S f""rf,.w-f~;l'JI Conf~f'll!!.h.J ;00.rt,'el,1 or IJf.t..e;.
 'lf..o. Detfv\Ja,.f Joe ~. lJ,·/llAMS1 ~l'fo~J h~ //..e 6to 61-0'1'3 ~.f Dt'vedu of lpu--o.. -
       hottJ ~r //. f. l.rredion.s/' i's ,.-e.sl'o".r,'/Je .(;., ovu-1,5J..J of ,t11c."a_de.meJ ca,,f,.,,/l,·,.j t{'({F
       6."'J ,-I-; of'u-o.J/011 1 .f.-o ; ncf,,.J ~ l..."'-f n.I /,J.,,,./e.J /o1 c,,,nJ;novtI cf Co"' f;n em eJ .fo,,. 7Jr,'JMeY~
    P,.,'sotiu's 111-fQf'eslt.1 ~e4/{l, 1 Ja.fef~/ d11//>r j~e-r-A/ l...)e//-!,e,"'1jj for ens"''"1 -M,,...f-e4J ft,'JtJri -
    e.rJ #I eJt'cA.{ 11.nJ/or jJI~ cl, ti, ,.c,,. / ne el1 if.re a.leg v. o.fe.fl l'rov/JeJ .f:r L./,·1-/. /I. e CoMJv-.c...m'~
                                           3
    /eve{ of Ct).H/ .(..r -/i.e. 13ropw frAl'nNi.1 ,f et{c.Ji. ft..c:/.•fy '.J sfaffj tM~ hr e-vv~r//11 /1,-.f
    e.r...J.    At1011en i's   6..(-.h,,.Je.Ji ec/er'J Co,..sf-}"'{,.or. "'-/ f<,)Af ;1oe/"J,'nf ~,jf.IJ <A".lw ~ ¥!1..
    AMev..JM.f?Al'.f{rej6.rJ,."1 hl;<J/\Me. Ca11J,ho11J ,.f CA:.,,f,·,.e1v.e.J 6,..J /'rol,,.1,,.(,-;,J #.e. ;,,{f,,c...f,·o;,                                 ,,r
    f1iA"''slw1e•.,f.1 /li1..t Ii.re cr,,.J o"JJ,. LA""'-JIA#-/- "'Pf'lc1-IJ~ 1..t ... J,,,,, Me /'IJ:i.AIV\~e/,1v.e...::l)c...;
    well        o..J    fl.e R.5~tJ          ,,{   Llt...e. JJroceJf   6.J      fl..e br-t..t:J.,,,J/lfDAMtAe/IVIJJ
                                                                             rc.,,,CA.J./l'U"A-fJ ;,,

     { re,o.rJ1n'j J,,., /)'1Jc.tj/ ii.. ./l..e GoCArfe of ;or,"Jon '(;r,'el/QnC4 /Jr<>CeeJ""'lJ.1~"'d"'~J I..
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    ./l...e /ClA1v1e¥\JNleJJ v.Ut~ ac.ftA..j ;;u.ron~ *-1\.-ol,.J/e.el~e o{-/1€ l"E./Je·hfive /,,ff<Ance1·
                                 1
     tr_,.J/or e.r:iuoJes of fl.e (ubon /J?o.,.,oic/J~ e.>e/o.11.Al'e.to/Jbnt'"'j o..PJt4fe /f,'Jcne-r-J a.fe.,-fl.e.r
    l;C.C}5 LCl~,_~rNE_NAIJJ'.""
Y7. Defev.Jt.,...fU) Jof.11/J(J.,,.~ boe.( /l} ~re. o.// o/-1..&r t/,,Lu,.,/tJ,.,-J~f;{,€J jJYJon.s ac'li111
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   or hA11i11~ 6..c.feJ -fo,. ft-e. 6£.D 6ro¥ ii\ #.e.13~ce a. J/or sf&J o( ~/J/;e.Jor of °"'erc.hovt.r fur
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U.S.    (orre_Jt'onf '' 4,,J/r t/.e.ir        IJeJ15nJe&J "",.ft          4.c.fu..o..f or <.oMf,.,,..chvE. k""'°w/e.J~~ o-P ""~
        in.lo.n.u. or- evf:N\.f o.f. ""~ {ar~on Mon•Kt'Je e.irr'o.Jc.A.rQ~11'.fM/"1 of "'-"''J JJ,,.,'Jovi~ e-o11{}-,,eef
        "'-f f;.(.(f" f>r o.n~ s.1r1,·fo.r~ de.1,,nul tAnJ/r consfr,,,..detif;,,.,,vt).fe /fcri°ro/:f )C6rre(..-
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       ftof1r.J ~ul·f"l_s/.a.r,'n'J Me        Ve..,rit rt.iMe   a,c.f.,4ecf"-rA/ ~es'J"' f/,.,w.
'I&'. l>e.fer.J.o.11f{s) trJoh"'/Jo.ne. /Joe.-( 13) 11 are. a/( /.t,flk>wn/l/ii,-r./e,,. l,·{,e_e//'u.rMf ad;',, 3 or
       hqv1Ji3 o.J-e.J. .fo,. fhe. Q/;0 6n"-f' ;" fie ~r..c-e a.111/.r sf&.J ,,f ''/(eJlMA/ /11all\4.Je.,;- a... ~r
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       ('LJ 1's"fr,'t...f ;Vla."4..jer 1J.1tJ ~r fl.eh /Je.r1311 «fe.{;) (;,.d"'J,"'1 it..f;,.,,f '/,~,..feel ./. el'1 ~ A (.A.
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       ,.v/onlfor/A~.'n 1'ftrAfor "} ~UtJons//Je. for over.srjAf ot 7"e. 6CO 6~17} f°r/vofe (.for -;aroff 1
       fJri'Jon{s) (jl'er ..J..11'j w,·M;n Me .{lafe.. of Afe.w.Me,c,'to µ/-1/, "'-cftl.4.f or e.o~sfr,,..J-ive k""04Jl«~e.
       ot 6111 Ltu~o"' #f oM~t'J e t.K",OO.ft.<r--e ,?or'Jon,J, 1 ,( 01113 /Jr,"Jol'ler tA.f C[ (For a"'~ f,N.t/ar I~
       Je.s,~ne~,,)·,"'-efetP C..rred/ol'l.o..{ {4c;{,4-~.
        De~Jo.,,f!ttJo.rJe..-.v tin a//,,. IJMJtnJ _jo/11f~~I '--""C'-'.ue,,,,,:;l/~ 1 or StACCeJJ,'ve/~
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l/9.                           11
                                                                                                                             ad,·"'' or
       ho.vlnj a.c..feJ in o.. ..f"fJUl//ror~       ,..,/e_   olltW (,({~ e:xfe.,.Jl"-j .(,.olvl /./..~ .ftrihnif.,..,ce. of
       C"'rloon. Mono~,'Je e.71ortAre~o1'Jonil'I~ of Sf6..fe /J1,'Jo11erJ /,·,.ect/'J l'e.I;Jc11.s1ile '"'"'Ju dor of
        /11.w -hr: Me dA)~.f.-o-JfJ1 of'uo.lion.J of Me ("'v./,~ll7'°l'vfro.t'n1nj o-f{;,,_c •..f.·f~ ..da.lf;
        CM--J,.f/ol'\} of eo11'.fine.l'l/lf.llt? ,IJ,,·1onen-J Jnfuesf~ ~e,._f+~J J1Afef~ 1 c.nJ/,r5e-...,,,-Af /,Jdl-/,e.t'nJ.j
        tW\S<...r1'111 ~At e4cA /J,.,·.sone.r; ,viJ,u..l/;J'~c./...../0~14/ '1u.£I are. a.le6f,,\A.fe611rov1'Je.J hr lJ1'-lli /.l..e.
        lolvl"1Md~ f~vel ,{ CA.re.i o f+...-Jt'n1 ./... o..lf /.),,,'Jo11yJ lie. d,j/iff of. /Jt,.4? /J,-,,c~JJ1 /;i~e;­
        e.,.f t'v. /-i.e s~.,.,J /V.Jj..AM&1JMe~:/J1 <ft...d"' fl-e Coc..YJe of 13r1'.rori (;_/tl/•11<-e ;oro-
                                                                                                                                   11




        CeeJ,'njJ 'O"-J 1-'#JOt'I Q.llj reS'f'011S't'Ue .fo,. Jec,'J"/t>l')J re.3,.,.J; . . . ~ Me , ./Je,oorTJvte,.f4/
        Afpu..l/'' -;:>e,,,-fc.;·,.,,•"j ~ Me. 6rt'ew.;1. ce f'roteJf ()11'1 /.ke ~u/,1 ~ {,,'f.i.10.n<4l /l""Jro.M 1
       ./., i"cli...Jt. fo,J /\,of /,.;A,.:feJ h: tJa. r-Jf4;\ V. tlor~Ol'lj w~,.Je,y, T. hsfe-r; lJo.rJev-6"_ Ui.a11e-z,;
      lJ6rJev.. G. ;#orrr'sJ' iJo.rJev. t.//t'la.rrt; lJarJev._ E. /!>rAV•/ ~o..rJe.v-i J. JohnJo;,j lJu..rcfe-.
        HAfd · Md. IJo.rJe-v.. ~ u,.,',.J. 11
SD. Defe,,fa.11f. "(J.,.eb of Sa..,_r,IJ, AYe a//f.e-r-JMJ o..J,'n.j or t"'vinj ei.deJ in fi~ role
    1{11J/or ~,oo.c.·11 ,,.(             L~/e. .(of S'ec.u..-A~ II ""J~.,. ./l.eir /Je.J/~1t4e&) d.f 4 ctt;
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                                    '

      e.1CffWIJ/n~ fro/v\ fAe. f.·rst iASfo.rtCE'. df lo.,-lon )/o,,., Ol(";/e <'-¥;:10IU re.~ o/.ron 1'~l fo ,'111cfIAJE 1
                                                                                       1

     b:f fluf /11t1.·fe.J-h,; ;110.Jor AAra.3011)'Ao.Jor ''f<esn.'c..k JJ!f":J'or ( Morr,'1.; o.11J ,AA"')' or
      J. Jo~.l'lfOI'\ 1 rt1iJondJ-e. ~,.Jw c.Jor ,>{ /01,.; -h,, ,tV1<1i11'fa/n;11j lie fo..fe{'J o,.cf Se<.1.Ar,.f'J o/
      ././. e fo.c..·l..f'J h t~c.ftA.Je1 /,,J ,.,o..J /,'MdeJ ./. .,/ JJl"tf0Y1rt-rJ ;.,f <Uu-f~ ~e"'//'11 .f 6. k~ 1 oJ/,,,. J e,,,..ere./
      /,Je/f-l:,.e;n~ o"' e.. J"'J ~ fo -cfa~ bo..s t'.r.
5 l.bef6"JAl'lt ''Q'>,'e.ve1.nc..e lt'eufe,,.._.,:f~' are .// ;0rwso11.s ad;_,,9 or hAllt'ttj a.c..fed ,.,,. ft,_ e'°'<.i·ce.
    tttrJ/or ~fe;;.J ct Y{.,,'evc.n<.e liet..fev.A1\f '' 6 ,.Jfo,, /-1.e,·, f!les i:Jh r..feftJ J,•redb re."140•1.Ji'hle. <mJey cJu Qf
                                                                             1
    lfJ..W .j:;.r U:i11J.i,.c..fi1115 fAe A l'f1.1'vi of Nfi'l.(.{j '.t '61/e.ll.;.11'..e '' /)ro.Jr.:.J.,. 111 .LI/ A.l<.crJc..M.. < t..11'H,

    Af.NIC..b /Jo/,.,':J / A~c.tkre. t1.J1tf /.-. CcMfJl.l.nu. w.-f4 e.// ~f"-fe. a111J FeJwa..f reJdqtt'o~1f ""'J/o.-
     Ojt..ireM ~f.s {/... in cli,.Je. A~(A. fl-""J,_,JJ J 1..1k,·J. lvi. cl"'-Je.S J,·, e.d re.t/ltMs;b;f.-~ .[:,.,.~V\/'-'l'•'llj
    t~o.t e.4.J /J.-;r,,.,e.< t'J c.lto.-JeJ Alf N1H1 of 0'-"t. Proctt:JJ t'ti Ue. c.i...vse. of Me 6r,'.flv1.1.nl~ jJ N ~
     {e.eJ,.,.~ I~t.o.rf"-" hf-lo the.. 'S 'tj.tt111J I vz:J.Atv.,e,,.,J,/v\~· tbc,.,,,,.J.-i;o.,J of e-..nf.'ne.M e4; ~ . . el 6)
      Pr:1ot1.e-r~ ;,de-re_s-ff.1 he.Alf( StAfJ~l "'"'J jM'W'rJ ~J/- ~e,'n'j 1 Q.'l:fflh1J,•n5 +,.,"" Jt.~
       {r,f it1.sfA11Ce of LArbo,.. MOl'\o)(;Je '-'"'l'oJ1.1r.e~olJon1'.-,1 tJf ff;fe. 4,.J0t1erJ, e.rl'e...c..-../& w-f,.e.,.
      f~e 1JJ~e of Ct>n<'..t:N'I\ ;-~sl'ec;f..c.6//'j rAi"Je.d H..ro~31.. ././...e Orie11An.t.«. l'nJr~ Or ,-1; ;u-oce.J.J.
                                                              -l'l-
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                                             ,     ,,                J
     tl,e_   ls51.;.e    A   £;011c.e.-n   ( 5r4ve. ,·...
                                                   1        /J.;1 1'11s7ML-e.) t.s   fii..1'IJ 411 J   /;.rMI).(/~ ttcfdreue.I   l/i'A.   Ji e   ,{/ACb
                  ';;roJrAlv't PJfr rfJ fJ('o(..e.JJ J exfe..Jl11,7 .froilll ./I.e. .[,.~t ,:111fance of {4r6ou AtoMJ<iJe
                         1

     br 'e..r1J."'c..e
         1



     ~Kf'mu.re/;io,~ori;,,j a11J 1°"1cft.J,-,. 1/ /,J n.J /,'M;fJ-h.: Lf. /!.,/,'Ve.re>..) LI I !~en·/t.1-. J. (/,'J"t
     1J.11i L?. 6. {/.<A.11e:z.•
52. /)J&."6.11ft1) "J'o~11/.k11e /Joe.("JJ) 'fa.re. al/ tJ,,J,.~/lfA1·J&1f,J:--J ;ie.rto/U a.dnj or A6.v/,,,
     o.c.fe.Jjo.·nH'j, C-0'1(V..treJ-I~ I Of" .fC...CCe.JfivJ~ IA"Jer cJu of IA.t..J ir. #.e.11!.ce ""dfr sfe..d 0{ tM~
      ('{.,.,'W6.nce ()(f,"C.e,r or <rtr,'et11>,V'l(!e_ {DY-' 1f} /eel,/' 4,. J /or QI!\~ o./J. f¥ I' e/l'".Son (1);~rt1cyoJ,.,,3
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      /11 fli.e. fe..,j)j J br1'WA11ce froJrAM lf11r#r ,./-J17rtJceJf tUP~r of/. e.rt.J/H ro/on.sd/e. ~ //.e ~~ -
      fo-~} ojle.ra.f,'on of lie. ffl.c,'b1's 6rt'etl4"Ce l'"°Jr'*' 1'1 o.a.ord4.nce w,~fli Me d;c.'4.feJ of/1-/~CIJ
      /Johe~ /JJr.tEJu.re f1tArJfA.•1.:f·./. fftJ.'f.c 4,._t{ Fe.Iv./ /'ef'ir~e¥1t Y.>,a.rho.kr/J A_tA, f14nltt.d1j
      IJh.J. 1·"J"'Jes1 W i':I 11,;f /,l/tll1f-J.lt>1 /Jr,'Jo11er~ 1n fere.sff; /,e_~"' ..sttfe1 1 a. .. J.~,,. J'-e.ro./ LJ~ll-6e,'llf1
      C(S µe.// 6.J If..~ c-l,·f.•011r ot t:o11i'ne1111.tAt ~.J-e.--.J111~ f"'"" .ff.e .(.,-,sf 1'11.JfA.11c.t of {ru-iM /41/oV\opJe
       -t.1CfOJ1A~~o1'Jb111'1lj w•.ft.. a.J-tA,.{ 1.- Co11 ..fr.,.cJ.;~-e, k11-o1->fe.Jr- oP 5"1,ij e.xl'o.ft-~~o,~onl 11 ~.
S3.De.feAJa11f{f) "Jo;," /fo.,.e IJ,e..(lt/'f} are. 4// l/,,J,.~IJ/{!,,,.Jenf;/,ef/e.Y'.SoM eNt,<J/4Je.J 6-!I ?Je
     6(0 6roi...p tdto o.c..fJ ;,,, ti"~ Me. JJfiu.e a11~r sfuJ ,{ o 11 j su.l'u/11fe.n/en.f130.r;f;o,, a... J/r ,.,,
     ""j S~e<clr:Sor~ role or Cflf'O..C'~ o. f (lL FJ"',.,."1 o..dLA.A./ et!~ ,,f R-.'-Jn Lo.v6on .#fo,. oKile
                                   .+
      t'J(pASu.re~otso11,'113 a11; ff:h ,IJ,.,ro"v ;,.c/14/Jnj 16J/lof /,'NJ,fJ /i. 41// lJ~,J~ 11"'.J'or~ Cy -
     ./-A.'lts1 L1ewfen-.,.,b1 fe{J"'e1. "ff t'oM,alanc<. ,,Jlo,,,.1orJ/()fh'tv-J A,.//o,. f,·re/.fo.Fe.f~ Of(;'C.iw.r.
                                            1                                              1
5'1. Defe.,.Ja.,,./{,) ''Jo~" /Ja,,e..Doe {:!t/JJ "t'.r~ a.I/ l£,J,,cw11 (t1,,1Jb\f,{;J17erJonJ eM,e/o~J 6j lAe
    6£0 61'04/) J,o a J.1 or J,#J add in ttn J S41'U-i11 fe...Je.J. tJo.S•'fl0t1 or {11. II.< l'/4.ce 4,..J/or s'fet1.tf
     ot anJ .rLf->uU/Jor':l r-ole a.f 'CCF over j':"t.roJ sfa./( tJ/f/, acfu..o../ or tAl!Jfr"-dive know/eJf-
     of #ie. [.,el'J,./,ve-) e1o'iJodes of Lo.t-6011 Mof\otcJJe. etc;'oS1.At"e.?01'so11i111 o.C S-f-Jr. A.:ro~e.r~ eyfe,,.-
      J;"~ tro/Y\ #i.e.. ~,.st ,'"sf.nee. of !41·/ eve,.tJ #.,.J c-.tint.A,'111 "" .{q,·/ or ;-eflAJe J:. o..d- r~4.fo"'ail~
        J. l',..Jeef SifAfe /Jr,"Jo11UJ .f'f'fl1vt trvi~
    So tU
                                                   11
                                                         f',~f<. of .Su-louJ h1J.'lvli J111j1.t .,.~/ 4,.Jj,. J"~,,jf..
SS. Det<ln/Mf& J"Jo/,11/.1.11 ~ /Joe (4/fo) a.re a// {/,,)"own /U1'cfe,/f,e..( 14e.NotiS u-r~oVe~cl t,j
    !j.e (,£0 6ro¥                                          .141'e.rv.'.ro".'J role or /loJ,'/;on. Olli?.¥ C ({Ft ~a,·~­
                               o.J1nj,,°" AA.llin1 ttc:fe.£ 1i.          a.
    le11.attc.e bt'o..i-flne,.f c.11/ lt'Y-teJ/'J reJ110/'ls//,/e_ o.T o,//i-,,tJ.-/er,-a/ /,.MU fo,. .vl4./11le-..1u,c.,z " ( /.l.e
    l~~s/c.M..Il'l°"f ~Mon~ kl'\oWf\ IJ.J 6cc F II e.;c-k,,_J,."' froM 11.e lr1f /,,,s'/.. ,,c.e of ["',,.60n
     M0t10')(1'Je t~f'DSU.-f'e./poifoninj ()t SllA.fe A-1'.rone-n., /'1.c/(,..J,.,.1 /,t..,f /frf /,'jv,/~J 4/ «
    r)i ,, { a.d1'//o. If
Slo. De{~,J-£) (John/Jq,,e_ /Joe (t&/ 7) are o.// l/,,,k1101Nn /1/,.,-cfe"/,-[ee(/e.:NM.s eA-'>J°/o(JJ
     J,,j 7/ie.. 6[06roi..p Aa.11,'11~ IA).Sl'c..J~ worke.J on 4,,J/or L-rec..'1 S'-1,0UV/Se.I "'"'.J inhl"fe -
    Worl<u(i) i..Jhr. l'e.r.for/llfeJ tin) ~('t. ,,f ;,11.,#ift!Yla.11c.e. all~r 1'/,Jork." on "'/I.e. 6.,d'W'(J) /
                                                                                              11                1


    (It 6{.( f f'ro~,'Jv'IAte!J Ct.1.t.i.r,'n1 1 C.reu..hnj1 01· '°"f;.,·~f; .. 'j ./.,. a11J /vi.sf411Ce o.f (Av'3cn
    .fi1011ox,'Je €1'~0J'ul'e.,1'oi'.foninj tt.11J/or ./I.e. re,oef.·{,·ve et41'J0Je.s "f .1..... c.I. '-lcf"o&v..re.~01'Jovi,'r,j
     ot Si-o..fe. /hronV.f.                                              11
$7. Defe., JA11flJ J''Jo~t\ /Ln e /Joe. ( 11/ 'iJ 1.re a// (/,, hrot.J,.//l,,,•le,,f..fiuf;Je.YSott< e1r1plo'je.J /,~ 71.e
                                                                    11
  GtD6r"'-'(J hi or .fo,. Hie. ''jVfrA,fife111.11c.e /Je~a.rf1tttenf ha.11/11, t;,cfu/ or &ovi.J,,,,J,.ve kl'\-owlet!Je of
    /I.."' lre,o~/;~lve) &1e..f1 or e_,a1'I0Jes of Ile. Cl)..rbo'I. Mon.o'f(JJe e~ofwe.~ot'S'ol'l/";l ' ( f1"11:fe._.4,·.ro.-ie..rr
    "-'ho AM fo.,./ecf or retu.seJ o.,. ls f..,·f>ri1 or re.ft.A.<,',,' lo ff'lea.n/nJ./:..//'j 6./cfreff tt11Jlr Correcf

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{pO,De.fenJa.11.f Lori'Lon 1 LL L 1 {                         l,r,'t.on '},      is o. .f.ore1311 Vtlr17ora.f-ior. ns_i".Jfe..rJ ./.o io
     bw.'neJS ,'"' NewAe.r:1'<..,; wAose- "refj,'.rfue...f                  a..~eJif.for .se..rv;c.e 1'5 CTCcr(Joro.fion ~.sfe.IVI_;
     /Z3 Ea.sf Ma.rc~ 1 5411.fa. Fe._1 Ne.wAe.xi'U>; ~?SO/.
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     cfe.Mo..11hn'jl o.n~lor J,./a,'ni'n'\. (Jl'Of'U M~J,·ca./ car~ .{:,,, {Sk/e)/J,.,:rone.r.J C-or1f;11e.J .,.f ((CF
                     ,f.s ec.,.fra.cf v1,...u, /I.e.. 51-fi.h o+ Newi4e..x/<.o or a11 4je,..,c~ #i.e..re of
     f'l.<.rStA.6.f\-j:.h
tel. 41- 6.// mo.fu.-10.f ft'MLJ Defe~J6.,.,f Cort'7-<>n ttctJ M,...,",~ tf.s ownu-J; ofti'cer'ld,'rer:l,,r-!I
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    e,.,,p/oJe.e~ a..~~f.s or 4.1413a.re11f o..3u.1s1 /"c./f11Jtn~ 1 b"'f nof ;,.,,,,feJ ~ 11.cPN1;,,,:sto.for51hf.naje.Me~
    f11-4.r.se.1;/oks 1 fed,11/c1'd.n.f/11.,.J ol/,u- d11.~ anJ i.s re¥onf,'~/e /;,r ~e.t'r "'c:f~ or OM1J.f)onS
                   Me Jodr,·n.u of n.rl'onJ~J- .Styoe..rt'or1 '\j~l~ or 4/'1'4.ruJ- aJe•-.C'j.
    1u.rJIMd1.f /.....
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<.~. lJ-e.C~fo.,J· L1'.st.t S-1(1.lu-I JI/I, o.l 1'S "' N1 fl.J,4 { docl.r wl..o .Serve.J. o....s ''~e5i'on1J D,•redor
    f-or lori'"l.-an        ;,, New   )l/~~le.,o    0.11   J wo....s J,•.,-e.d/~ re.~on.rt/Je      /:r   lfr~   ove..rs,.,/,f   Q'1~r-trQ;,,,·,,,
    of- lor11.,cn ~ J-4.f.t       6../-SCCF; wh,.c.J,                ttL:M~je...c~ Re.s,aonste../' 4.,J wc..J qfso U·r.e.J/l)
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(pl(, /"JJe.,JfJl'\f ''Jo~tilJo.M {) o~ (#2 0) ;.J an~ l/nknow11/dn1cf~I,.~/jJerlor,{.r) tA c.f.'11j or hav,'n.1
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     G((.J: Or o,,J s,·mdo.r/~ CA>nsfrv.cfe.J t:-0rre.J.io"11.I fo.af.+'J ""'v/-i. Me fJ.kove..-dafuf reyM.f1'bl/,./;e,1
      t1. ... Jtr I, ·a.Lt'/,./~ (, ;e...J J.



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lPS, tJJevi/D.llf /(6.1/,J JJ.,.W\;'o ;.s ~p/oye/ 6'J Ccriz.on tr.J (Cl Fi ''Jl~//li .fe.rv,'C.LJ A-4.,·,,.,'ffrafor''
     ('''/!S!J. 11 ) MJ 1'.s Jl,'re]/~ re.yonslUe.. for Me. Ir,. J ~4-~~ fteJ,..,ui,f o I- S./o.fe. /Jr,':ron Y I ,j-
     6C.l J: 'lS we/IM /.or he-r ef.f{j re.fAJ,'o.,(r)/,.e.J,donJe(;J I. or in ""~ s//·1.;..(Af/011 1"€ful,.t'nl
   IY!ehca./ Ca.re..
~.DetenlAnlfr) ''JoJv,/:k,.,_e/Joe (ttzl) 1'.S a11~ o./.l..erl/,,Kno1..111/u,,/J~f;(,el;0er.rovr(.1)ac.-l,-n'i
   Dr h0-111'n~ a.def In rAe.jJ/Ace an//,,. sfe._J o( f/!Sfi ''af 6CC0 a.n/;br fl.eir /Jefl)"J~(rj
   ~··,ch"Jt'nj .£..,""' #..e. f.·rshnd.nce of C,wbr,;. )(M.oKJ'<ie e,c11osure~0Ls-011/n~ 1>t Sft>..fe /f,')orier.J
   ,f6U.f w,~fl. /Ae 6.hove.-sfa.fJ re:Jt_ons,i,./;t'e.r.   11
{p 7. f>ete11Jo.,./lj) '''JJ."'/Jane. Doe ('*ll}                 4re.   tA// l/,,f,.,o/,./r./1/,,,-/e,,f,{JeJ fJU.fort.S   ac.f1'1J ",. Aav,"11
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     Jlf.D.J) D.QJ)f!Jl..J/ tnJ C,l-f. /!J1u~eft.u· IJre.c.,f/'J e;.ril'/o~eJ k~ Cori-i..on OrtAl'lJu- e-onlrei.J
     ,,,,,./Ii Cori'UJl\1 /,·rruil'J re..tf'oll.JAJe fo,. lrei111 51ole n.~oriu-J - ,•ndv..J1n~ /J/q,·,,1.I{ A/Vr'tl"O - ~f
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lti¥.De..fe...J._l\./{s)''JaA;../J1.ne../Joe.(8 l3J'' ca.r~ ;ttfJ;u.: Yfo..f{ €1>'1/()Je.J 6~ "v- ~11-lra.de.clw///,,
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     .Cor 11.e fre.a:f(t'1e.J of s+Afe. f1.1fOl\U.f (ti /,Je.11 U" .{.,.Me. d,..r~-'4.) 011&0.:h0n o~ llf. /V1eJ,·u.I
     ta.c),·/c.~ a.f ((Lf ""/(:,.. s-uve 4J "50.fe.ktt14VI wio Je.fe..r1v1tne.. wh,,J. f'r,':Jone.rJ d.re alfowe..J.
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      e,.,y:ifr:.~e.e.J1 4,,J)r 4f'/4.r~ tl.J~S o.f Ccri'l..0111 llC, 6-d,·,.,1 .for an.J/or o,, bdraf{ ot C-or,'u.-.,1
     ll (. or i'ri Ca-1'u>l'l 1S ,•,.fue.if..s1 are. he¥e.6.Jfu- refe.rrJ lo d...J '~r,'z.o11 /l'feJ,·,_,../ Sf4~
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70. f)€fe"J~(\,+fs)         t   loA11 4ne.    /Joe (.tf2 '-/) 11 a.re.a~Jtr ~// l.trkJt,o w;,/~,. /e11..f;f;'tJl'erJiJ11.J
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    Je.r111'n~ ~J '' 6-rJ..,fe_d~r{)./ rfe.s,~neAJ)/~3111e.e.rU J te.s~on.J1'ble fr.r 11.e clefecli11e/~ ele.J~'j"~
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    f,bl/41 ;-6.uf.4~ "or <t <'.) C.C..J; anJ S1M.i'/M/~ Je_.s,jn.J (hr-tdroftf Gorre.dlMA/ ~a6heJ
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7/. DefehlJo.r.f{sYJoJ,/Jan~ /Joe ( 11Z.5)                                                                                                      .J,l
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    tJ. /Vl1At11'r.1f1«6f~
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    l11j1.u,'e.s;   e/QIV!"-j'~..s, o.~J/or Jeo.ft.J   oct.ur-r,·,,,     w1-./t.1n a11J ./l.t!.l'r a'JeN>..'-"j(-;e.s J.

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73.Defenla11f{i) 'f.Joh11./.14ne.          Doe. ( 11"2 7) "11re. 1.l/ /.4JMJt..J11 /lf,.,-/,.,,/,-{;e) S'1f'eY•'vi/-e.-iJe,,J/i) 'tb1J
    f/.e_tr    a.je.-.c~(-;e..s1;·L,.,~ 1 ot 11.e. f'j,'i,-c.J f'/rutf ~" a./6 (Cf/' u.f-~11'4. -Ra.r°'J New /tl<JC,'Cc,1
    res,oOttSNJe.. for oVV.f 13Af "{. /:lie. .tfrlAJ~re on~r Js _.,,,tJ.1'1\ ffl.111.11.c.e.

It./. DJe.-.J6."'f(J ' .Io1i,,. fl.,.,_ IJo e ( ttz ~J'~re oN IJ,,k~" /1J,,,t1~ifel owmir J fa"J #e,.r sve-.'-
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    A.fcNJl1. JJF) wi''.J.t. sv.f{,-,,·e-4- J°oW4 r.t'lJ/or at.dio,,4~ 1 w~Jl.e-r- '-'"'Ju- eolor of law or
    bj '".'.:! oUe-.- St.y>t.ri'nff!N!Je.v--+ ai,_~or,.f1. {J1.i.cJ a.J1 lJ IL ot (,·11-ll'fJ ./-o1 ./t.e._ l'e.uonne_/ ~je.J
    b~ or v.11du c-on-1-rAJ u.-fJ. i/..e Sfa.fe... 4f't-few.M~·tc1 'ft-e (C06 ro¥J1 L.c •.Ji 1C-ort'zo'1 ll~
    0.11.//or oWn.u(s~ ol'e,,ro.for(s~,v16.11'je,,--(J) of /'1<- ,oAft'u/ 17/,,J a4r ,'-fJ ~rotd~1 )oh
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    t1u1,·,.1 or refu.s1'n~ h e y:erci'.f~ sv..J. J°OWV fin I/or AvJJ.•.,.,..f"ll wAe.:1-1.. f.(' J,,.Q. (,~ oy a.J 4.
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71.II      i..S   sc;u..fif:cal(~       jJfoVe.n    #,14.f  Lr1..rbo11 ,41/0l'lo;<Jle. /st( rle<(ef~ "''./,.K,'c.. ft..Unce_            11



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~/./J/a.,1-1f,f{ ha.J (JLt..TSIAe/ /,/.s "6r1ev11.nc.eJ Ul/l.. ./lie...IJ~w/14JZ..,c/c.o Correc:hOflf l~ep4rfMt.Af lo
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85. TAe. refJel,-hv<. e,ai'JoJe.s Jee.1v, lo sfe~ 1 v.//.1'Nt11fe.'1 1 f~"" a /e.fecf 1~ Me a..rc.fi:fecfv.rei./ deslY'
   at l/,.rc. /H•'va.-f-e f.[o,, -;iraff 1 t°r,'son.s /!.),'~/1'co./ sfr."c:fv.r€. tJkd, l11ie.re,._f/~ StA.'v'edf S-la.fe 4.--
  ..soners /-o {c..W/l.u../t>..l/ve..J el'/Jotie.J of e.,c170S4.tfe /o lie foi'JonolA.5 (j•f{e/) ¥0., ~ •.fu..re{J)
    OtiJ/or Malfv.nd;o;i(J) of "'"' ~ bodu- ,,.J(o r rff ft..,..e.
~.  4J   ~ 1'vi)1Ar.'es      tinUr    ~#?tJ.JeJi 011 /Jec.eM~er l ~ lO/Z1 !lc..,-,,f;ff Jl-mt1..ro (,J6..$ t.[,·{w.ee(
   b1 6G0 do.ff via. ho.,.J-~e-fJ at..ho/v.·Jeo reeorJer "'fi:/e. SIA lferin~ -h.oM S~IVl)v/V\J ,,f
    a.lJe.. Lvhti11 Monox,·de. f'o1:S-o"i'"j                  Jr...J.     4s ;uie. .sk.,1t/~l<A1'.fA   /,/'fi dr'i:z,'11eJJ1 /,·7ttfl.ealeJ-


                                                                 -t?-
                  Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 18 of 31



         itreoAe.re,,,,c.~ s/,ori11vJ if-1:,reo..t'( /,-i4t,l~ lo VAik t.no.J.J/J°fe~ 'l.eV..rc>ll)j ,•c.._/ el.:r{reJ.f,
      ne.s.51                                                                            I


   anl ,'., /t're. lleeJ ,p MeJ.'c.1>..f a.~{t'on ~~efor a..JI1's~nce.
37. 011 bece.1vtkeA" 2-&; l0/21 J.Je .Fu~i113 £0,.,,, ac.de. LArbon PMaK,'/e.. ;ouo11,fi~I !fa.,,Ji{{.
   A-IYIArO /,J<H (~fA.l.LIJ' t'J 1...)e.elcl,o.i'r ~ o[t_f:j ;f;ferl.•co.I De;'a.rfMenf W~Ue /,~ ~-/,'"'"'~

      fo s1..Jtu 4 JrM J~ Ma. I 1-fj1'4-                 of Se/z..tAre. at ~11roK//r1 .f.ef'j Ii~ sa..vi e. ../;Me c_,.,,,,.,.,
      sf4tf l:,e,j°"'"> ox:'Jl~ -lr-eJ1>1e:J-.
88. On Dec.e"'ihe-r l ~ lO/l1 wh.le. be1'111 lre.J-e.I f.J,./'1 oX'~Je.-. f,, eo1vitt{/- lie ../i:. /Cl c. 140/Jon1
                                                                                            11
    P/a.,·1.liff AJv")tirO - /n o"J. o .....f of eonsc..'l>/,,\.JfteJJ - 'tv.,f 6rEafi,•,_,3 --fe.¥orar1./~
                                                    11
     ~t..ff-ere./ ~eY','rafor~ ..{;.,.(<.1.re. •
S'f. D11 Det...e1>1ke:r 2. ~ lO /'L -/k.;h f,-tf A/Y1Qro 1..u1Ju-w€.tf'vf q,.o,.oro>eil"1"1~ .f'.oc..~ I.au. rs of oxJ-
                                          1
      .ten        fre1>.f1t11.enf clr,'rr~ wf,;Ji 6Co sia.ff a.111 C..r/um Meelt·co.I 'ddf to/f-/l~,)1,-/,-({
             f11.ll11j eule.ep.
      'fro/ti!.

ro.   /Jes;cfes I-lie. d1Y11i11'.Siro..f;on of o~je.-,/ /Jlo,.,.'hlf AN16.l'o r(4:e_;ve.J /lo ~YH.eK ..f.re.,.,:l;.,,eJ
       for        #.e.     of o..cvfe LrA-Y'bon .A/0110;<,'/e ,.001"so11/n3·
                         €plJoJe
Cf/, Fo//owih1 f11e. ne.ar-fa:/a/ Co.rhon,J!/orroX:/de i101J'0i1/11j f!ve¥1.,f of J)e_ce/v1beH" l~l...D/l)
     P/o.,1tt1'ff A1110.ro he~a11 S1Atter;n3 frolY) Vtw~"j Je3ree.r of a~ ~te.-1~ ~0. 11 ,.,; fea,. /and/,,,,.
                                                                                                          1
     nuvoLl.Jne.JJ tfl>..e. Jo ./I.e. ru.,·iJ/ol'\ ~f.11.e. .fl.J/iA.f Ae wa.J -« .... l.i:J-_- ~nfneef ft,'°"
                                               11
       vu,'-fo.IJe.        'jo..1-cA~mber tt;..'1/i"'-1'; J1,..~·eJ .fo eleo../I. .6~ Lo.rbon                 PorroKt'/e r>oi'Jon/...,i
         4.11~ ~t'llb.
       a.1                                li>M;tJkte/~ wtftiov..f Wtuni11j,
                                   f-t'M.e 1
92. F"of lowin1 fie                11eo.r- fafo./ v1~f1 /J/t,.;,./;{f A1t11J.ro beja.11 Ao.11i111 /-roi....l/~              rJoinj       -fo.
       sleep a.5            k~wJ ,-f ~e µ,'// W6.ke t.yJ or n of.
                          h<.   tH.VU

13. 'Fbf/ow1'n5 f~e.. 4.c.Je. Lo.rbon M()(lo-,<,'Je A1sont'11j ev~f of l)e1:.e1vibu- l~ l0/2./
  {141'11t1·.ff ~'7,o.ro 6efn S<A.ffer;nj froM .S~ve-re.. 4-n. X1'e~ (). ncl/or /D.nt'c.' ~vet-~ fi/Vle. #..e
   /./of IJo..fw Wf.A.J /tu f fvof wii'c.h WM /nthc.o..:/·;ve of o. ho,./e,,y M4.l/1.1.,,(.f/0 11 - #e
      frt'3je.r          4 /Ae_      )'folhXt'Je E..t'l'osu.re~ oi'Jont'n1 e~e.-.f.r.
                                    (arbor.
9tf. Fof fow/n1 M~ 6..c.<J-e Ct>.r~on Afono><t'tl~ /lo,:S-011/"] ever1f of IJece~be-t' 2- ~ ZOil~ /J/4,-,.f;(f
                                                                          1                                             1
     AmtA.ro bet" JfA{ft.r/11j .f,.,,M Se.ve.re 4,..x;ef'J o"~r ;A.n,'c. eacl. ll'Jvre. ./I.e. 4,•,.. "f.tl_-Y:1""Y'e..
      .see>-i.eJ rJ.·f.fveA1 ./I,""' 'tiorMe../.'
9.5, lo1V'J>l?mct'"1 f,J/./t.. 1/,,-f 11120....r-fa.h/ t./)1socle of C6.rbo,, ).(o/\o"JCt'cfe loi'r~nt'n 'jJjJ/,,,~,,,f,·fl
    AMaro ho...s µf kif lie. .s~e.. /V?e.n~I~ ant/ A~u beeoml!. SoMew4~:/- d,'.so.l,,/uf /17
    f'ej'J..reb 1-o k:s JVlf!N\,-fo..I fA.c..1,,_}J,-u /11 fer.Mt of a.6,J,~ /a (.,oJrC€¥1f1"'ei.fe./ fe.e. fP ~£1A..J,1
      reu..// ,'"f~r,.,,e..ho"' 1 Yfl.M.eMhw f'°'f'l1'c"-lar t,.,JorJ.71 e1.~l/r /l,et'r Mru11tl11</¥'e.l6nJ 1 si,1.fh.....s (ro~   '.{.,.,..OJ--
      {.~("'es;/ ho..J .rl.rf--fuM 1"1f>"or'.1 f'"'J.jeJri/ 1 (lef.s NI&\~(~ .f~...l13i...el (~v<ut..JJ..JMJ ~ eq._.Sl61 d<.1
      o.:l-f;.rl:,J'tlt/e ft. /rre.11e-r.s,'b/e /or4 ;,, /.hi4je o..s a.. dJrQ.cf YeJ,,,./f of ox~~""' d'e.;0ri'v()..f/on
      ASJoc.io:feJ f,J,~fl, (1J..c..4e.. J Co.rhon Monox,·le ,4,,'Jo11/nj.
1~. T/i,·J 1112u.r-f<AJJ la.rkr:m Mono~,'/e Jloi..ront'11j e.11~ fr.,Jje.K"J a. / 0 , , , /;iovd of
    de,aru.Iloti Colt'lf'ov.riJeJ L'J fli.ov..3/d:r o .( J.~J'°,,1 i11 1.8 .s/u,a ""1../e. Wt"o113.fc../~ 1''""/'r/:sonJ
   fl_t.t.f'Su.o..nf ./.o "- le3"/~ i'i-1110.ft'J Ct"1'Mina./ Co1111/c.f/of'\ .su.b.se.gtA.~f-.Jo wAo..f Me. yf;iLS"l'rfM~
    Cou.,..f ~sheet ha.11e. Jee/Ylet( 6 ~ r, 1/(€Jo..J """" (,(l'ICoMf,'f_'/-;llfta/ ''6,.a~J Jt.ir~ :z:.J,·cf1ne:.f_
   proc.ee.1111cy f!,,ot.(J/J w/fii #.e h,J H,-.f#ie Cov..r-f l/e-rf of .;/.e /lf;,J/i XJ,,,~J /J1f!-r1c.l

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 /03, l/o.,.,,_f,·.(..( Amt.1.ro c.01tti'n.1.Ae..s fo St..t {fer f,.o,.,. S~1t11f"./r.N1.s a.SJoct'o.fJ· fAJ,'./i, aLJJLfe
    la..rbon A10llo'iftle ..Llo1~0111'115; C"'1Vlttla.l.·v'l... 19u"JoJeJ ot c~,6on Monox.,de €,lrpos<A.ref;aoi'S'Ol"l-
    1'111 1 a.11J. haulnj S1.t.rv,'11eJ et CAJM/'lefd:J hre..se.eo.tle._ ea..r,'~ f"l"evev.fal./e/ a.nJ fofalf ~
                                                                                1
    L.tl'\J'\ec..~Q.nJ /leo.r-.fo.-16..! e.11eK1.f (of c~r~OV\ Mo11ox-,-cle fot.JOl'\/11'j) St...c.I. A.SI 6td-nof l.'/rt,l:

    eJ ../,,: e~ <. irr.'/-tJ..f; on; J iu.rn,'"1 e-J'J; /la..ul irr,·f-.1i'o11.J1 ~~if4"" f l.JSU."-. tJf ref:Jt'rA'l-o<'~ 11,'.J-
    cAA.r~e ~ n~vol.\.flle.S'~ IJ.n.)Ci'E-~ I J°.'Mi'C../ ~1u1· fMY"-11 oio... 1 /,"""1i/,~ho.-i.J ~ ..,lrf!r'1ar~ "''J.'1f-
   .$WeA.l-J1 601.,:b of ll!f'reJ.f,'o"J €.M.,;·f;o,..o../ J,y/yuf; a11tl ;;,e.-.f,j 41\J l'JJc/,,a,f,,.,·c19rolo~.1
    a"'J /lt.v..ru/oJ''ctJ.f c/,'.itruJl J.-.sa.foli"l M«¥!hf i1v114t:M'o.-ie111,f}.
 /D'f./l.5 ~ l-OV\Segt..fN\c.e of .Sv.J.feN"1'nj ~ro11•{j~ «-"' ~111uca1t.1.r) e.vdfJI- a~i..,,.f(..
     L<uhon Aot1010Je Jlo1'.rb11 1'~1 P.Mf. re.14ef,. .f;11e. epi~0Je1 ()f {tJ.r/;;vi A'"" oK··Je f.>'/o.f'-'.re/
    f   ";.ron •' "j  #.o.f- tle-r~ /oali .foreJeeo.bfe. )-)./IJ fret1eAT11. fole/ fl/a.,J, -/,-ff ,;/-/V?A#"C ho.J
    .SLc.tfe.aJ ko/1.      µ      4./\J {CA./v..r~ d4MAje..f i11c.l1.tJ;,., 1bJ Mf h1r1, ·feel .,4 .';<J4J11 a11J s1...Jfer-
    in~ 1 Nle11fa / a"j"''sh1 eM o././on6./ J,'$fre..15 1 o.fl-or11 ~'J .s -le eJ 1 ~,..J lo.s..s of J/"' ./.·f~ tJ."' J
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     enjoJNt.et'\f lit /,fe. 1 ,o()rf/cv./o.rl~ ;,. /,JM of~ t..nk""'°"""''fe -e._Kfer71 ol l'~:JJ1'C6-./
     Jo./flfA.~t a..... J~r /ll'l~../a,//nev..,..,loj1'c.A/ l"'J'1.cr:u 1 a..A,J A hcsfof' f>OS'Sllol-e. /..r/e/e-
                    1
    ef.fe.c...~..r a.JJoc../4..-/el i,J,4-/i La.rbo111 )lfo11oxt'de. e.'JfjtJo~t...re.~o/.font'.11'j 1 esf'e.c..,'4//~ t.J/,e..._
    /'rolon~/J «nJ/or-ref'd.f:ve..1 Ji..J.. a..J)~v...-f11. 0 f /,'M/feJ./....; t-orM~v·J /,e,,._,.fJ,·uMe 1
     f'eifJ;r4fo,.'J            //IJu cJ<AMo..J~I k,·J"e~ ef,'11!4.Se.1/J/,.#,, /e.fech et'\doMef/'t'os;·~ ,'nfer-
                        ,l//ne;s1                                                        1
    f ,y,•fj 1 o.11J oflie-r repruJ'-'Ji11e a.,,.J dt.vefof'M&r1ft:tf frolJe.M..s1 a.11J .N\11"~ .f)f'eJ of C.6.nce.r>
   esf'e.c.lo./f~   of M~ /IA"'J;Sk1'111 a.ncf brea. .tf-.
/05. buf'ie.        kre 1~he.rui.fl'j (o....._/~ anJ/o,. {/o,.i,,;ecf arJ.,~fe.J-v.r1i k,j,,            a11J 'Y'~e:/,/;11e t1./'i'-
    .s0Je...1 of {w-bon. /Z(o11.0K.,·de e.)Cf1oS<.v"«e. anJ/or 13ol.son1'11j 1 fie.. /'~'1f; f1/,':J.r/c11./ .>fr"'Ju~e.
      de./,•loe,r-JJ'J Conft'l\IA.e.J ./o r€/l"IA1'11 1.u1cJi4"Je.ef D..Jt../I, fl.e. bd..St'C.. c,,,,/,.:/;orr.s of li.e <A,,,dU'-
      l1iJI'"'~ (0..0€. ()+ Ii. e ,.aofbo,f/6..//'j fa.hi t.,l/U\fS ~.l~o 1"eJV14l1'n,'11~ t.A.~AlfereJ #. t/f'~ /ec..llt'l'IJ
     )llA.fe. fh..1011e.rJ a.fa. .fv.bi-/4.,,t/6.[ ~.e,f lovieceJSa,,..'l rl'.JK ,f ,J,.1n/ne~f ft6..r~ ;"i"""'Jl 411,J/or
    JeAM 11en.i'111          tu1ofl..fA'" 1'1 sfd.11c.e 1 ~1'.focle1 ()t" e..v€411.f wA e.r<. ff4-fe JJ.,~ o yie.r..r   SL...c.1.. 4...s
    Plrv1tlJF hoteo           1 4,viAt(o are {tt~4'.in) s~~·ed-eJ 4 Ld.rbol'\ AonoK,ele.



(Olf}./7 .L:NE6LI6t/\.IT Ol£~A7.Io!V DF                                                   A- /1/lt:Drc.AL
                          FACILITY
/Ofo. f>/o.t''1f/{f ;e..5faf-e_5 eo.di. of llie ,ore.ce.J;"'j 4/(eJaf/onJ tis ,-{ {"'/{~ Jfelecf
    ft ue.in.
107. .411 De{ruiJo.ttB /<11.ow ffi ej ttre.. erifru..sfeJ t-V1"M anJ~f' ttY~ dt'rec..f/'J er <-../{..i/111~.,fe/'j
   (e.5,aons.·ille.. for #.e. Aeo..//1,1 sa.f~I a.111/ar 1.,.ull-~e/n3 o-F l/,e_ jJU".Jons eonli-ne.tf of
    ''6 ll ;- I( "J Tli'l (ED 6ro'-',011'"' c.., /J'1 rSIAl/l\,f- -A. &4, C-Oniro.J- c..J,ftt ft..< fu..fe              s         or
   tf.e.w M~ic;c.o or ~~ c:l.Je.nc.1 Me.-re..of..1 1..Jt..e.""-e.r J,'re.d/~ o,,.. aJ a"' own~ a11.d/or (5c.yoer-
   intf#ldettf of Me /lh~s,'c.o./ (J/1.1.J o.;.J/or /Ii-( re~/ ;irof>vfJ l/.e. lef:-ed,·v~~ deS1jne..J
    s/-r1.A.J1..trf t's   /oc.J-e_J oV"I.
                                                          -2..o-
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/08, As:      wo.rJ ol IJ,e. 516.fe o{ Ne.w)fe.¥14'/ ff.( Sfa.te. is t,../l-,'/V/,:/e0 res,o~,·l,/e_
              q                                                                                              .fo,. fA"   ~d--
    c.o.{ co.re. of a// Sfch f1..11011er.J/ 1'-'c/v.J,·,,,3 /J/..,-,.f,·f{ AMaro.                                .
/Of. ~nle.r ~nfr(),cf wl#. /l.e )16.ft.. of J.le.1,,/,Al/,e.KJ'Go or 4'11~ ~e.-.c~ ./ltKeof; DefeviJ~,.f lte.
   61;0 Qrov.p1r11c. 1 ha5 IJ.<Ct(Jte/ re.s,oonsi~tf:~-a,.~M&r-efc,,.e.1 l:·o.6;/~ - {.,,./lie. Sf.f.feJefr'/nj
   of 5/ttfe. Pr1Jon.us /,/6.c.e.J ,.,, ,./-) CAre OAd,lt" c.wfody j ''sa.fele..e;a/"j 1 ./. lric/1A/e /)rope,,r
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   b"leJ;col Co.re_ tlJ 11€(.ef.(UJ l/JIJ(or f'ejl.\lrecf; C.0"1$,'.tfe...f i.J,v/I. :/Ii~ Co""'M""-~i~ le.ve ol'41f'e.
J/O.l/nJu u11fro.J-w,~ #ieSf..{e of NetJ;flf(JC/co o~a".'1 O..jt!.v\c 1 ./AIU'e.o~ /J-efe.nJ,.11l-Cor/t1J"'J
   LL c..I WIAJ).s d.·re.JI~ re..r11ons.i)e. for fl..e. ,Mu/,·c.~J co.re ,J' lie. Sfafe. lr:.rone.,.J Co~­
   .f;ne.J a.f 6Cl~ v.J.,;, AAv~ 11 o ofl..u fo<Arcie. 1>f IVld'c.,J co..re.
J/J. De.tenJo.nfs           JJ,·J,e.ntJ~ ,.,.J,·{/e.rer.t an//cr rec.kltU.r/~ 11e3b3e.nf /n .fo.,./;,,,1 /.r.:
                          wue
    {1) fro1HJe f/,e /}ro14e.r /we/ d CoMMW.,f~ co..r~ fo f'/o.,·11t/fl J"'.,-,'"' e.,o/..sole.I o.f (~rbon
    Jvfo110Kt'de f...1</)0.Su.re/fo/"Jo11l11~ feil'e.u1.//~ ;" ./i.e_ J,,sfu1ce ,,f 4-cvfe. {arboyi Monox1'de
     Po,•soninj)' (l) iMmeJ,·o.fef~ 1-ra.n.s.fe-r or re.fer /J/A,'11f,-.(( fo be. -h411de.rret/ 4 4 IVJ.eJ.•-
     Caf ~cR,41               CtJ.10..b/e.of ;iro11i'J.-n3 fl.< fJro11e-r /eve/ of loh'?M'1l"l1·~ Cl(r( /11 Cc.SU of
      C4rbon AMo't(/Je A,:ion:n~ { eJf'eCt'A//"l i>i fAe. /ns-'4.nc~ tJf Ac.de ltAr'<»i PtJno't(/de
      /Jo;son1'nj J. ( 3) /e.M4nd (J..r.J/o,.. f'egf.t1're no le.sJ ./1,4.;i lie /M#?ej,life.. ~VO.C..IA4f,'Dh cJf
      11,e. a.l:fe.t-feJ. /?oJ{s) J~f,'11~ evu,'.j inlo.11c.e_ of -/o°t<,-( t:-onfiAM/1111:/;·011 of #.E hv/"j ~II/ -
     1'011 h"1e1if(J~· ( 'f J;"1M~J/afe./~ re.fer fi/,,.,J,.f{A-N?o.ro ./0 be. Seen 4'.1 ct ~~s/t..1'«11 ~
      uv.ld ;orotw;ono.I/~ trl'IJ e«edlve.11 e.vo../1.1.11.fe. #.e d~re.e. of C.6..rbtm J.fMor-/le ..s,tf-t..ro..f/Olt!
       l(loi'.Son1'h,J a..,J e~f of /)/A/11.f.t''f{ .4Maro.f 1lv.1r1;J,·,.ff! 1'njt1tr1"eJ o..s we// <U r1".Jk of
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       {,.,,+t.\re. /. ArlV'I J JIA. e_ fo /I.e. i"iJ,v//~,J t'11sf.nce.J anllor cu..1t1t.J1..f,'ve_ e.171'fode.s d{ Lo.rkc,.,
      Monox:,•Je. ~1",0oSt.~:re.1ooUonin~; 4r\J/o,. {5}17erfonv1 1 or Ca.tASe ./,, l,'f..f'CK'..forM.etf; '"'j
       ol H.e. Co;t11MOn. Me.J,c.o./ .fe.1h normal/~ CoMt'Je.reJ S'h.,.JuJ frea.:/-;r,Enr 1'n c.a.su 6'
       L<A.rbon ~ottoXide. e?osv.re ancUr,.ooi.fon,·,,, .su.J 1U1 6.J-1tof/.'1vi,-ht/./..o a""/'Jsi.s of
       bfooJ1 tA.rine1 A(J,Jf a,,J/or ~HJ t1's.J1.ie for c/,e/Vllc..a./ ~"'feAf.
1/7.., Defe11J11.11f.s owe..J /{;,./,-{{ Amtf.ro « Ju~ .../.o frovt"Je o.f leo.sf fAe. CoMMv.M/s lwe.J of U.rc..
     ;.,,   te.~cr.rd.s ./o   Me.J,·c..._/ C..Q.r'~ <ui.J sfOJtJo.rJs   o lecenc"l.
J/3. /3!j   .r...·lin~                        u
                       f'e+~/11~ 1-o: 4,.ovile. I~ e CoM"1U.nlls level of CAT~ lo If-..,;,.;.,. If J.c.,,.,";,, yi'JoJeJ
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     of CQ.rbo11 Jf11noK.Je. e.Jc;J01u.re. ~o4$on 1'~j j ( 2)./ro.nder or rehr f1/..,ii f,ff lo /, e. fr"-Jerr~
    fo a. lt'lJ,·c.a./ /'...o/.·t~ C.tyJQ./JtL ofl'rov/J.·n~ Jl.e !1""ol'u kve..I of CcM.MtA.1'11~~ CA.re. in C..4Jel ,,(
    C6..rLon Mon.oKtJe e'!CfoSC>.fe. 4olso/\inj} {JJ "Jelf"lqn/ Of' f'f?ft.A.1 J"e. l/.e. iKl,vrJ,'o.~ e11a.cwtf1't»1 df
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    Hie. o...fFeJJ. ,J.(s) dur1'111 eo..cA o.nJ            even
                                                          1nsfiu1ce of ../oxlc. Conf4.Mt'110..t'/on of lite hv1n, &\ll1'TOl"l-
    Menf<s~·(tf);,,MeJ,of-JJ refer /J/o.i11J,·ff./o /,e._see" /,~ ~ l!~ylct'o.n wfro c.ocJJ14rohui<Nto.//~ ,,,,./
    e.ffecf,ve/~ e..110./v...fe fl.e. /ej'f'ee of l6..rbo" A/0110Xt'Je ..sqfu.ro.tloh~ot'.sonin3 a.1tJ e..~&1 f- of /1'.,•"-
    f,'{f A-Mato~ iM1t1e.R1oJe. i~1.<-r1'e.s ((.S we..// aJ ri'sk of fu.f&Are ho..r~J Ju.<t -It, lk /#IJ.u,'tl1MJ
     11tsfa.11ce.s ani/or 'Cl.l/Vl«.J4.l,•ve •rt.(>JJoJeJ 6( lt,.,./,0#1 ),{OtlO~ide wasl.Are~o/.ronl"_~I a,.J;;,. l'osst'f/~
    -renJu- or pre.Sc.t1~e 111J.·u.f1on(s) ()."J/or o. fre.f1t11e,if13/u                  /o       eo,.,,/,._f.f.k effe.cf.r of /k.
     AoKiou..s {Wtll.e.s 1' 611.J/or (5)l'erfor/11\ ~" Ca.L\S4! 4 .be..1~r~J M~ of ./I.e. CoAt>Mon WteJ1ca./
     teJl:s llOl'WIJ~ Col\S•'JereJ. sfo.,,JAr4 lt-e.«.tKIJ{J «,.SSoc.,'o.fe..' i.J,./-J, &tt>n Alorto'l(,'Jt. ~~oJ(Ar<
                                                                        J
     anJ/o..-1301.SOll 1'111 {v13eu'<~.J/'j 1 11 ./I.e. ,-,,s/o..'ICe.J of t1.c.cJ{L. l4rloo,, )(onox,'le. poi Jon 1'nj ),
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      De.fe..,Jo.,,lf eye,t'ov.s/'j 4re.ttclie./ the1'r JJ'J /.o Citrc {or fta:,.f,·(f; l11fue.sfs1 A«ll/i, .sJe.ifi1 o,..l/o,.
      ~en.era.I wJr~e..i'ttj 1,, a reo.sont1.lol'J flr""Jt1..11.f'('4";i.er.
//'{. 5~~ C<J11J1A.J- deo:r/'j J.'.J;:/"-Js 11.e /Jehne/a11h JellerE lf,J /eU,u11..fe. ,';ic/;{fere.,.ce. ./o o.,.for
     #.e. ,.,,fu.~Aeo./11. 1 .JJe..f'J/ q~r 3e.n.era.f we/f-be,.,'n.j ()f .ff.ie. /f,'.soneyJ1 e/Ell'tcnsfr._fu a efe.h_.f,·ve_
     he11,././.I.. CttY'E ,aol.'<'jl Q.n.J QN1.D1A.t1.jy.'.,k 11~/·)~'~ ;,, -1/.Q. rM11t'11j o-f o.. ,or,'.10,,. AAllJ,·ca./ ..f...uhf~.
1/5. DJ~Jtlr\fs are /ejo./~ res11ons1·bJe.. lo /J/4.1•,..l,f{ ~r M.J,., .. / n~~~c<. v.nJe¥" ./l..e clo,fri'11c..s ,./
    r~,oonJeo..f .S4,oulor1 a5e.ric) 1 o'(" <ipf«re.J-tlju,'~        /:.r   /I.e.   c.rnvlv.J of lie.Ir e"Y'/oye.e.1 an//o,.   o.r11.6.
                     •t
/lf.p, /fie ttc.t:ott.5          of/ D~Ja."fJ we.re 1te.3l1'Y-4f; t.J)/li..?wa.11tD11J anJ ,'11 j~.f ll11J re.ckle.u J.'Jre3arl.
      for /J/o.ittl,-.ff.s welf-J,e,'11 j aru//or VUJ /,fe ,
//7. PlaJ,J,'f.f. Sv..ff.u-J iMMJi11..fe. inju.rt'e.i 0.$ 41. lire.cf re.si...lt of /Je.f'Wol.11h I (.ol\Jt...d
11 '6..P/41·,,:/;ff 1) o.f-ri'sK ~r o."J i'.J sv.'°.J•e.cf '4 kture. /i._r#lls a,.J Aet1.IN (Jrol/uv Gol'IS1'.sie,._-/ ,,.Hfl,
                                                                                1
      ../oxi'c. e..~17os1..tre.s Q.J a. J.•rec.f resu,/f ()f Oe...ff!.¥!.Jo.11-b OottJ"'d:
 /If. As o. reS"/t of ./Je. J:r~t>11'1~ 1 fJ/o.i'nkff /iv .Jc,.f/uJ ka.3e..s 0.11.J ,·".;u..r1'e...t /,,e/""J,;,~ /,J11of-
      /,1"1,fe.J ./., (J.'sa.bhl'l,J/r'leni,,.{ iwipa.t'Nol'\cJ;11J.y/c.a/ /11jc.ir1'e.J1jJO.,'n ari/ .J.,.ffu,'nJ /os.s o-fro./:~
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     QnJ ~OJ/tlte.4- IJf l.'fe.1 111'J~~lcl'EJ/ al'I )(1'41 f'a.ro..nol'A.; "eY'tlO~neJI1 J,otA-li of ie;oreJJion1 -lro1),/"-
    .S/ee,oJl"l~selle.t"t. fJS'jckll>jlu/ 4nJ ltN/D.j.,.onJ J,'J-/refJ1 4nl «11 ~nkll.()/,Ja,le 'lKfe11.f t>f ({,,.f,,.,..)
    ;ihtko.7 cfa1t11~(.I ""Jlor,viett,'"ht/,•"}11.de.r 011 /I.e. :ro1A11J..s ll.4f/J4,·,,i-/(,..,. not-.1 Sub,;ed../.oserioiJ
     fofe,.J,-6./ /,·fe.-fl.reaf&i;,,'J Je-./ll. l'rollrr1o1s t:on.s/.i'fe.11f l..),-fl 4c.Je. CM~On Aon.oxt'Je r>o1'.roni'hj,,
     Yepe..f;f,'vnf1AM1,J,J;v(. €./CfJD.Sv.ru ..4, -/i.. oh~,'c_jk./I... / ~/fllef1 o.nd/or c/,ron.'c. ,·... J..fo.f,·°"' o/.14_
     fox:c.//.e./li1./ f"'/111.e.J 1.J~,·J.. A1A11e /iee.-, A.JlOC)JJ t.J,~fl.. f.-11ev- Jo.1.111>.3~1 ,f,-<ft. ej cl4Jec.Jll./
     rc.sflro.~rJ 1'f/11e.1s1 £.orone1rj he.vtJ,'seAJe 1 t1.11J d/.l..fW lfe.-firufe,,,.;ri3 Ae4/~ l.a.z.4rlJ.




lOU/J7..Jr: #E6LJ.6[t<.{T o.PE~A 72.0l.f OF A co~£tl-1..i.ONAL
            FACTLI7Y




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    h~~ injwi e..s1 anJ/cr ../-../t...s af ./I.e. fl/6.nfi flr,'.fol\er.S.
/lJ. fo Se.Ve...tre. J1~ree.., /)e.fenf..11 f.s we.re.. Je/;&:r,,.fJ'J ,-,.J,-ffu-Ui.f 0.11/ ~ro.u~ rte~J.-F /n reck..-
            Q.


    /essf')       e.nJJ,'h~   anllor IYIQ.•',Ja.u..,·,,,, 014em..f1•on. of o.    de.fe.c..t·1;e./'j   Je.s1~11e.J. l''iva."fe.   r.c.r-11rof.·f~rt':,so11
   w.-.Mo11.t re.30..rJ -lo -!lie. lo.njerfsJ d 13rue.nfJ                *'
                                                                   /Ae 13e.r.rons forc.,1J~ ccnf,;.e.J l/.e.rtt.i" qJl'ec:..al' .
   <t! l/.e f1'sk ,,f ho.r""J t'")'"r~ a..nJ/o,,. Jee.#. C-O/tl'leJ 1'n o..11ufi'c.11../"',. """""u "-"J. /.~ "14) o.f. o.. ;0ari 'c.J41"
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    J'o1.trce..
Jl '/.As   11..   Wo.rJ of     .Ji" J/Je.1 De.:f&i Jo.rib owJ j)/.;,,·kf+ o..   de~r elu.4 ~,Je.-r ~ £31.-M 4.t'luitfMeJ
    ,,of oh c,on(;lte.. /.;lfl #.:n a. /'o.c.,t~ die.re.. lie °!'era..../,,.~ ee,,lr-bo'IJ -Iiere(){17o.recl a. J,,o(,..)11 <vtd
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   .s,3,.,·/;u1tf fl,eaf of iaon 011J/or i".J'""J ,4, Au hea..1.fi, .s.fe1 1 1.Je//-/,e.;,,1 1 a,,,JI,,,. Ve.-~ /,fe1 J.ere..
    #ie.. r,'sk WtU c6111'1>i.JI o.s in .j/.,·, ca.se1 Jiqe. .Se.I/et"«./ 1iisf«nCe.J «11.Jlor e.Ve.n,f; ,,f ~rbon ){o110XIJ<
    ~u.re.?01'so11,'n.1 1re.c..e.JJ: ./I.e. ewi.tJJ,•ve.. e,oJsoJeJ /J/,.,~/.,j"f.l1r1aro t..I«./ Jc..~ e.cfJ /.o 4,,J
    fliue.hj esld.//,'.fll,1i~ ./i,f .fie. "o6v;ou.J'1e..fS eoi...IJ 1tof 1.6.v~ esc.~J .Pe. /Je~ncla,.fJ or ~~ve
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    ~~ ~vu/oJ.J ,).;d,1 ConJe.gf.Ae.,,J/)1 6/so SerlH!I ~ e..tfo.'/,~J A .J1.i'1je.dJ11e.~ t:u.?oA/,/e. J-/Q./-e.,,f
    mi11J A..s flie. ~e.f.e.,.JA,if.s ;,,fen{;·or.Jf~ a.nJ <Anre6..SOt1a.U~ J:.sre.30..7Je.J a11 i11toler,,.4/1£ r1's' of
    Ao.rM ~ ./l..e. LJArJ.s /ie.j were e,,,frW/-J ,.,,.fl,_ CIAJIJ,'of- j'-40.rdlAnsh11 of (e.s,ae..c.i'•//~ /1t Ae.
    CO.SU wh.e.r" /Jefe..-..Jo.,.;f:s o//o/,JeJ /'lo eS"Ccy''l ..fr.oM -/J..e... e.n11/ronN1f!.¥1.fA/ ./..1<,'l'IS ~,,cf

    -re.t"1J Jo e.vo.c..IA.6.Te JftA.-k /lr,'son e.rs ..(;.oM ~ no>ct'ov.s /'1 ec,./dJ1Y1J1111.fe..R o.reo.. (s}. } .
/ZS. Defe,,Jo.11h                U1'M•'V1"'//~ ne3l.~eJ- ,11 o./h,1.Jin' -r~f,flot...J C4.rbo11 )'(Ql'\01<,'Je £JC,.0~w·es
                              we.Ye.
    a11J/o-r 13oi.lortln1 e11e,J-.s o..J1 «/./I..,,,,.,~~ f.<e~ Jo?a.~ /lo f- h.ve. cle/,·tuo.'1e.4 ,~fen.r.fe.1 VC14o.Iu.re.. 4
    #te. /.-c~,'C rl>./11\eSI #.e'J ;,,livtJf.A.o.llj "-".:! colle.c.."hvef, ~,feJ. lo ;ol"e.Ve,,.f °'"'J /nsf,.,,c.e!                                  I


    "-JCfe.,J,.,.j froM ./l..e. l/U~ {,·rst l11aJ~.
/ll,. W;f/. Hie. ttC.e.fJh°" ,,{Ccr/u.,.,1 a/{ o/l.U" De/e,.J,11fs ar<i £rfliw /,"c,./,k on M" 3...-o""J.J
      #.Af/.4 l'ro>ciMo.f"e... CAL..fe 4{- /k_ f(!Jf!f,~ft'vtl. /ns"f4nceJ of C..,rl,°" ~0110Kt'Je {!JC/ltUuref14oi'so11/113-
      /k ''60..lu/l/1Ae Ma./.£."cf,·ons - ~ ~Ac.u-~Je.J /,~ lie /;.lu.rt cf 6-l.C.f:'A6.ll'\ffl4"1•"'-e.
                                  11



     /)U'Jon"el ~ tu~ /l.e.t°la.1tf OfJV'fA/.,..,., i" {,j/ to""""4t11ce w1-/I. fe.Jvt1.I{~ l•MA.nJd.fJ l"e.~u.1're.­
     me_,,,f.s o.11J/or hJA.1'tJ1 113 coJv St...cA a.s/,;. fl.,t.r C<J</ ~,r.flo'v 1' ../e./-f,..,M /1tJ.•v;J"a/ ce./i.
                                           1



/l7. For Je.ve.ra../ monl/,S; c,o,.,f,.,,_.,..'J /o feJe...rJ "l"~u.f-.t,·o'l.J re.yQ.rJ,·n~ oirRow ./.../ll'OM ce.10 .5f...fe.
      f'r,'.So/lu.J of /.loi...11~1 //,.,+ L ~ /!J-/Joc/" - "'" ., /I011or (!,.,./''- We.<e. Jef'r.'ve.J of o~ .S04t'C~
                                                    11


     ot fOS•'fi'11e. or 11e~o.../.,.ve.. a.1'rflbw ;,. 1/ie. 1-nJ,·v;·Jv..J c_e./{1 /l..e~ W~"'- tlSJ1~1'\J k.
                                                               1
/l 'I. /Ii <L /(}..Jc of a...1't" flow/ e.specJA//J jJOr1-f-,·11.._ 1 #iro""JA f'e. J..,._cf.:s (J..//oweef /i.i. ri o>Cio1.<..r
     ~e.s fo ~fu ./l. c/u.efwuk 7otJ.feJ ./a ~ ,-,,J,'vlJ,,,.o./ eel& ttnJ ft.e,.ye6j "')(,'cA./~
     to11fa.M1'no.fe ./4. /i1.1t'"'1 8'/IVironM~ d{ 5fa.fe. /),.,'JMe¥J 1vlf'1 elea.J~ Ld.rl.011 /ffcl')oJC,cle.
/l 9. AJJ,1i~ /.o ~ JeJree                        ot lal,/,~j in ~ weekJ/MonfltJ (Jr,'or ~ be.e.e;r./,e¥ l); U/~
    1/-l. <'t;.:.loJ"/,6..J 6e~                   eic11er/e11ct'111 ~" onJoln3 r/;,,,./u~M1tlfvrc..ft.0111 lSSCAe w~fW"e.
                                                                                1                         11


    6{( J:            /tfAt'11fe,.,.,1J.11c.e. /Je>'Jonn el wu-e eonJ'hnfl~ re..-/,.Jl,f fk ~o,./e,,v-{s) ~""e.{so/'l'o.rJ1)
    ./o '~ ,.otlof-1,'J J..f         "1t11     d./£,, do11 1 w~/c}, A"-I /e-.J '/.o /Jr,'.r°" e-.r                 Com11la/11       h .£r lo.ti of
    hcf /..Ja.fu.
                                                                                                                ~ tAnler!J1~~ jJrol/M-11
l30.I11-fe,,lto1r.A//y f;,.,{;,,1                  4.1\/jr Je/,'be.--r-11.:fe1   ve.f1.tsi"i
                                                                                            'f lo
    6((.}: Aa.l,;levia.11c~ f'e¥'J011n e./ wov.fJ M~J) ~e-/;J ~ tie fed,•e1e(f.Qi..{"J 141/of-t,..JAf
    1V1.eJiM1JM a11J Jo DYi. 6.'oJ -/kir WL1..t.1...{ lwt'l'\e.,/J. (SkJlj N1Q/1t~o.vice. "Vork)
                                                                                                      CLtrE




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/J/.O" Tt.ur.sJo.~ 1 /)ee_Uvifow2. ?t lO/l, ~{Cf: )10.,',.fe111U1ce /'erJonn~affA./'11 J,6..J for<--
    /13hf S4JJ rr 6oi'fy- fJtYof-/,JAl-. 11
/ 32. 'A-f "f'flt"oKIMo.fef'j IJ /!JO ~r.J ,,,, J;.,-tlttj / tJece.>"he,.y- l. ~ ZOil/ JiA/111;.ff 4-mtJro s,...ffv_
    eJ. 4 neAr-{4.fa.f ll(Ji'Jocfe. ti (}..(u..,fe Lo..rloovi Aol'loKt'le. JJ01:ro~"n' J" e. 4 et. ( c.i«t'Med)
     ''f/tA€ 1t10.flnJ/b1t1 " or, fk_ 1ro/ie1vro.t/c boier.
/3J, iJ~on l'lofi'ce. tJ{ poi.JM ot,,..J {t>.Me.f Confd.MlnA/-,•Ylj ~ lv;"j ~v/roh/111 elhf .,I /lotV,.nj
      z 's v/3-fJoJ/' 6 ((. r- secw.v,.f'J .sfa.ff-lerl '~ Lf. J. f/,3,./- o.lfeMJ"tul h A"'"e
      ..4,'.J Oti e;r-.s ' Io~ ,·.f dot..Jh " ,.,, ./l...e.,'r 1" "-Jf'edh/~ ({.sJt',nd C'l-tu.
                    1


/3<.f. To St\VE.. fl...e.t.,.. owti /,·veJ1 ./Jrt'sone.rs of. 1-1-l '73-M /ilk.cl 4 a..ssd•ve4 yefu..se
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      fl.... J,'red orJu-fsJ of LI-. {/,'j•'/ o.nJ Au- $tA..korJ,1i,.fer.
/35.5ubs"Z"'e.J h, MIA fl,.,/~ l'.,.of.1-1,f~ -lo..c~rl re£JAU {roM Gtn1'1e-.f1-/,·e.cR ..LJrt'.ro~.WJI
     LI. ll~j,:; releAieJ a.~J1 ,.1-1.sie~,rk 6rtle.<et# .41'.fon erJ Jr, //n e.. ¥ l>I"\ .J.4. Poel.s lt-c,..f-1.-
      we.sf W().. I/ (;11 ./4 'la.J roo;vi } anJ f'roC.eq.cfe.ef - £•11a/~ - ./... evao,..a.ff!. S-ftA.~ fi,..,)'011 er..r
     froM .f.A.e    ./t,>t:,'c..4-//'1 ~11fMnJn4fJ 4re.o...
/~{p, (J/1A.1'ntdt A-Ma.ro WAJ tA.110.{,fe_ '4 t.JA/ k Pro.1'J~f a1tef /ia.J h /,e_ .leolerf /n (( cAalr ) 11
     tro1J of k..r M.51~1\J eel( - /I l /J .tt;/l..
/3 7. 6 LL f: Sec.u..rt'f'J /1 e-r.JM n e./ v.. £-1.-u'n~ a Ito.I'll- /,e./el q_c...J.t'o /v1tleo reeorJe.r c~fr.ree#
       /)/Aini,-{(. A/t'UJ..t·o M -CtJ.JvtUa. O..f\'1 Je.¥,fe.. lt..e c/;,.e C)rcu/Yl$fi>.11ce.5/ s«e..si/cned /,,'M ~to.J­
      /,6.v,'n~ be.b\ 1'r.vo( u~ "t'i! 4 ftjltf ':
/3¥. Lf. l/i·5~.f attJ1
                             .IfAh ,4,:ront>¥ Ao.lfl.tt.J 6011z.a./es 131.!:Js,'c"'//y re.Jt?ove..e/ /J/a.,.,,'t·/l.l""'aro
       f,-oM /.1-l /J-Pc)(/ !'
)3 t I/. r. fJ. ..J fro/w\ ('.fl. Sf4.fe IJ/I\' (/;() uue e.ilie-r- C()l/J-,';, OY 110-l,·/,'eJ tJ f /4
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       htA.lo.rJ01;.s /7'1Ct'ef~f on t:Jec.e1v.b~ 2- ~ i()/l..
l'fO. 6 Ll P Mo_,·,. f~anc~ /)U"Jo'111~ we.r~ 11,of .Iv.le, 'I"._(,-{,-~ lo wcrk.. M lie_ efe..feJ,·ve.
       fMJ/or /V'l A./{,,.nJ,•011. in'j 601'/e.r{s).
It.fl. 6to IJ~Jo.ntj' wo~el /t4f At'r~-ov..f {o,,. <i cu..at·lJ 6ot'le-ir-vcri.. S;t1et:_/a_/,yf 1<Al'lf,/
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    Sever-./ 1r11ore. ept~oJe.s of t.orl:,on. !ffon.ox:,·J, e.,c,oosure.~01'.Son1'"6·
/'-12. (3j /llfuii•ot1 a.I/~ .fu,J,.,,~ anJ/o,. t'e.Jie.rs/'j refu,'J\3 -k
                                                                         fl..er-: (/)l'rofed-St.le ltbonerJ .f;.01v1
                                                                                e.1...
    u11nec.ur4r~ r,·sl of .fore.see.11..Ue.. «n~r rirtJr1J11e.4-lar""1'iy'v.,. 11 411J.lor de.~· (lJ;orafe.c.f
    Sfaffe.. A-lso11v.s from jen.U'c../ eo11J,.f,•011.s ot u,n{,·,.e./llf.eri.f11wl11' '1. Jt..bJfA1t{,'4/ d.Ji 1>{.fe_,,•01.1.~
    h<J.r1V1_/tijt.1..''J1 d.n.J~r Je4./.li; (3) N1€"'1/117-h./6 ._JJre.Jf t111rlttr recf,''1 -1/.e. .Jfr~c:lro./ defeckJ)
    tt.11Jlar C.Ond1flon6J crec.1,'"j         or   ~lv/111   rt'Je.   ./o fl fLtb~ftt,,i'4../ «11J   r'M.#1i11e.11,,f y-,'.fk of.ser,'-
    ou.s Au~ •'"J'4r~ 1MJ/or lett'fli ol-
                          1                      /4. .fh.te. /.J.,'Joner5 C-011{,/,uf a.f ~ efe.fed'v~ de.1,711e.J
    ;/a.11/fsJ; {l/)a.cf in    anJ      r~Mo.U'l.. /1116.llllW .So aJ Jo Cure. ./4 '°/.,,ts J,,,.,w"' s-f.,..,dura./
                                                                                                          j


    Jde.J(J) a11J #..ere.h':J ;orevevd ~Ut!.J .fu./;.,re /,a_r1v1J1 ,';p/w-14!.J/ tln.4'lr /oJrt'bk Je,Jl,s of ~
    11/411f-s Pr.·.for. eK"Sj / 5) ~cf llpf'rol°r,·c.fe.~ d'ur/11-2 ~--16 a,J I' ttfe.,,.ft'A/~ .fu-h/ eve.dJ
     of lo..rbon. )./Mo'{,~ E.'IC~ASU.rE~o1JO/\/ll' a.ri.J£.,. .A, "./.""';"' 01'1-f,1-e 17e.rJ011n.d Ao{,.J fo
    lorr'l.c:ll'J respof\J t'n. a.111 J/or Ir, .,jt;..c..A €Mc.rd~c~ eve.nfJ 41..S C~r6°"' A10/lo'IC/d-e
     e../(post.{r~~o1'.fon.t'nj -l'tJ.rft't.lAla..r-17 w/..e_,,, ,//..;_ -{ae.c./.f,'C f)I'<- of €#rlieAr,Jenc'J 1~s re.J"(!f,.f,•ve..j·
     a11Jkr bJ {~) eMCtb%'11j or /VI 4/11 ttJ./,,/n ./4 ~" hn v..e.J ~u-"'f,·o;, fJ f- Me e/e.fe,,f,·ve1
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     Jes,~n eJ ;ir1·vJ~ 'fo,. -11ro{,'-f ;ri'.son 6) wt/lio.,.,_f- d1,,o.e r~ a ref {o,. f4 A,'3 J., c!re.. of
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     Jan'u- 11rese¥if-J .f.o ~ l'erJoN /;,,,-c_,'/::J/~ Co~..fi1-u.J lkrei11/an.J b~ (?) evttJ.~/,'hj 6CCF
     -fo Of'e<o..fe. 1 or OfJe<o..:J-,·n'j 6Ct_; ot...h1Je 1>{ .feJero.1/~ rt?c.nlo-fe..J 3v.t'Jef;'nru and/or
    re3u.ft>.fior\J f''jttr£,'"j ~ D(.JU'AkfJn~/ -regl.tirf#l&d-J
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                                                                                         /J+
                                                                                  J/Je. a"J/or 'f-o"'°;oro£4
    f,ri'Jl>n. J 4Nf/(J,, 61.,.JfJ,'nj c.oJu
                                              1 Oefevi.JAA/J clea_r/~ Jru.duf /4;;- /eJ'a/ e>h/,)'4 -
     f;on.J 11nJ ~Mhk.fiMJ J1.J~ {..;, hDf.A.Je .Prt.Jonwf - /"c/ul'n1/J/..,•,,l,'ff41V1aro - /n. a.
     reMo/14~~ f>ru..Jud MA1'1'1e.r al'IJ/or ,-,.. a. U.rred,·0116/ .{d.o/,·~ ./lr,.f ~Jn.of17ose ~
     /<.n,ow'I Dr S1j111fio.l\f .flv.u} tJf- AtJ..rM1 ,'"J'v.r~ 1 11111/or Je~-/1, ./-o /4 roll~J (e¥'e.ct'a~­
     wh &1./1-vhiwe.. /4 #r-e.tt.f or y,'J/t. of l.o.rM €/tll().nlA.feJ from a jJAr-h'C.v.v( o.r foc...rce) an.I
     Jt'J;:i4.~   l{   sev~e. J~t'-e.e o~, Jd,·bw~e.              1'r.tft'f.fv.IW\c'f;   lo /I.e.. ~~f~           v..nJQ.fe.   tJrlJo~
       C-onJi·~·on~ wA,.c.A w;,. /f,fv.,fes rec.kfeJ1 ~let.¥13 e-r,vie,J.
/l/3. 5/AJi C-onlv.J dear/~ q/tl'IOfAnfJ A 11e34J'WtC.~ ;,, ~ r~tinlnt IJr 4 CorreJ/o,, a.I r~u-1:~.
/'{'/. IJeJenJar1iJ aire respo11St'l:le ./o fJ/o.J"~·{/ e1#..erJ.'red/~ cy v."'Je-r 14 Jocfr,'neJ of resf'011J«Lf
      .S-::fe-rt'or1 o..~e.-ic~, Dr 1A.p134.r~ o.3er-c1.
Jl/5. Io A. Jevue Jenre.e. . 1 a If o,.cJ,'ons1 o/tll/J.Jlon.s 1 aMJ/or t_,{u.ru -/o ti.cf 6y_ /Je{e.r.lo." fJ
      werE. 11e.3hje.4> "'1t//(,,../ wa.1tf~n, tinJ.. ,'n ~'TOJJ one/ r€Jde.u J1srejo.rJ /o;- j)/o.,-,./,/{./
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     11tfu-e.sf.1/ /,e4 /~) Jo.fe.f'J I w e./f-fae.;l'lj I ttnJ/t,r V<M"~ /,·ve..s.
/l/lo. /J/6.1'11Jrf..f AMo.ro SIA(h,reJ llttllt/I J/o.te_ 1'11 'tArt'e.J tU ~ tl,•reJ-             reS"-1/- of /Je~J"'"f:t 'u.nrJ11oJ
/97. f'/ah1h ft A111aro          1'.J !LOW 4.f-r1'sk for tJ. " ' fo.ce...r ..Ser.·ov..s        4 nJ pofui,f,'4//~ -k-fAl .£fv.re
     ~a.r/V\~ a...SJocJJ-e.J w,~fj. a.cv::f'<- {(>..,bt>n Motto')(t'Je f'Ollonin ~ a.n.J Cv.Jt/llll/o..·hve e,o/10JeJ
     of- (1J..rloo11 A'lono't1'Je 't.K/lo.Jv.r.te.
l 'IY. A5 4 re.sv._/f of: ./4. /:t.re~oln1 1 /)!t,.,11{/{( AJ_V11.1.rri /.tA..J 1,trcnecoJ4r,l~ f,,. 11;,..,.J J1reveAtf-
     al:J-e J16.Md.1e.5 a.nJ i'nj<Art'eJ in J1;..'J,'"1J/,J 1tot f,'M,.feJ /i.: {/,:.rab/,·,,1} IV?e,.,f._/ iMl'"'tY1>1el'lt
     (Jh~J le.a.( i'j'ur1'eJ/ f<t.in aNf sv..ffu,·,"J 1 loSJ of- ~'o'J#'e.4- of /,-/e 1 Y11~ hfN/o.l'e.~ lteo..cPo.c~ ~1
     n~a.v..se..a. 1 1/o/tlldln.'IJ J,-z.:z.t'/'le.JJ1 lo1A3A 1 n..oJe. 4J e.ie. t'r·r,'/6.f,'Dn.J 1 cft'o.;rkc..1 /J11J,'Je...dt'c;i,,1
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     "°"/."'s10"'1 b/v.rrJ. V1)/M Me~o':~ lo.sJ1 a.cfu·v..; In /tlflA.fcJ~ acli.1'"1 i"'joi,.fs1 J,·lf'tcv.lf~
     Go/1C.f!nfrJt'"1 i {tA.~•jv.e.. l'a.""'<. 4. fttA.c./U, /i1,,o./V\,' t'o..'/./011.1 M'1.<'l.f6../~J~ c.A,-;/r/c 13robfe/tlt.[1 MerJ-~/
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     41\~IAlJA. e./r'lo-/ion4/ J,•slrv.s1 YeSf'lro.f or'J J,'.Jcl,ar3e 1 hoJJ of Jef're.J/t'on 1 a.n'{t'e.f~ 1 feo.r 1
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     nu-vo'-".Sness 1 13a.r<AMl1'0....J Y...1--04U~ ~-e.,o'"'-j I frA"'-Ma..1 aV\.J al'\ vvik11-0/.,JfJ.fo(~ e.rle<tvf o t
     (.fti-u.H) ,oAyic.o../ JdMlljtj 41t.l/or JV1.Mi,:/~1';Jc.klo3lca/ t'~'v.rt'~J 4"J /l{}fe.AJ,../ l/e -
     ~re.t.d-(//V\;,.~ lieu.if.I... rYeM.1 Ct>n1,'ife,,vtf-w,·fA actJ-f/.. (4,..fo"" Aof\ol(1'tk 11 01'1011,'11'             44,
     r~f~tdlvl(. ~lepoJv.re.s Iv ~ hKlc../l<M~ lt../t'\e.J - sv.d                               4S    /,·ve-r ~6.1t11A~e,1 k·el"e'J
     Jt'.reo.se.. 1 feSplrAf•r~    ,'/(,, eJf; a.11J.   l.:>ro/\ar~ ~eArf- J,'uo..Je..


C0lfld1.JIC. D£/..l'J:A-L DP IJUt fJl<OC..[JJ .LAI T/./E l0(f£.St- OT
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J'/f.fJ/a.t'l'\/;{.f re..rftA/-eJ ea.(h of /.lte/)r4!.CeeJ,,,,, a.l/e.y;f.'"115 ().S i f {•...//~ Jf4fe..J hel'e.in.
/SO. l/,.Jk ~ £-ff.Ii. a.nl .f:Ov.rfe.f!N\.fl, /lwiev..JN1~'1-J 1 /J/4t'11lf( /,o.J a. 11t1Af ./-. ~w

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                Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 26 of 31



     frote.ss a11I Ejt.Attf /lofed'on o{ ~ La.t.>J.
JS/. 5tafe_ ttnl {£{) /:,e.~/a11h owJ 4 d~ Ir, ./J/q,-,.·/I{{ anJ 6.// ffa:fe. 4-,":fo;'le#"J h,
    a.,ol'~ NA t_ /J /Johe:; ~J ./Jroc.Jure.. h1 tt. -h,·~ a.1ttf URilu'a.se~ l>'la.nneY".
J5l. A-// befuitla.11'5 for .fl...e Sfo.fe of J.kt..1,4/f~~u, /:.n.-ow Mll~ a.""e. 1 C4rf".R,4/('J; e"'/.r.,._Jfe,.I
    t-J,u/1. a.11rJ. ref{J_oM1 l.:,/e_ for Me 1'11k.re.sfJ, l.u 1'41 Sfl.f~ 1 euiel/or we.lf-~e)n~ of S'ftAfe.
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    Pr,'Jon u-..r Gon.(,· ne.J a.f 6 LC. P as we/I Q:S /,~,ltj eJif,.u.rf-J [,J/M q,.tf rv-,0011..f/l,/4? /;,r
    aJAu-enc..t;_ ./-o all 5ftJ..fe tiJ/or FeJ.ua/ lt.twJ reJarJ,'1~ fAe .)~/~ u."'fi"e.vi~ anJ/or
    cvJl-oJ~ of ,f} fo,J'onvs w/..e/l.er d/r-edf«; or cu a.11 (offict'1J./ 1 ,;,, a S<-t11v111'sor'J jJo.Ji'-
                                                   1
    1-lon o'{ tJ.lA.t/iorl'j 011u l'e..YJon..r                  clio.r~e.cf /,J/'/li lie o.d.oJ resTr<u1tf1f tfa.fe A..':fon'::"J.
/53. UnJv ecnfrlAd w1#t ke )fafe                                of Pew Ae...,c/u, or an~ a.~enc.'j Mere.of; 7k 6'L()
    6ri)t..f'1 Lc. 1 wl.fl-o~f re1nct11'1~ tJn'.J /t{{/:i/f,.~ {.,r ff14.fe.. /Jr,'J011u-S froM -/1-e ff6.fe. or
     lf s IJefe.rtJa."'f.51 Ao.S 4.CC e.pf~ al/ CtAffiJ,'d.] clo/,ja.h'Dfl..S an J re. s17()ns,'/,,·l·ke_s1 a,.d
       /e~a//~ Q.J'Sf..uv1e.J flab1/,f~ ~r 60.fi ~ ,..0,,-,'JonV.J ~frv..sfJ ,j,./r, ,.f} CA.Ye a.J µd/ «J
      .for lcmpl'J''"5 OV' f"'a_,~f,-nj 1-o Go"11J"~ wdl, a.If Sf.f~ (J.l'\J,t,. .ficlera/ /4.t..JSI Y~j'-'lo.l-1"ons,,
     h'lf.11\Jo.fe'l ;/e.c.re.~ drJi..fefl tpchc;e.s 1<tnel/or /';oc..eJu,re..s re.l11:IJ /.,, 011//0 ,- .,-e7c..nt·n,
      l,.,_s.f.oJ~ dnJ/oY' c.o11ft/leNI~ of Sfo.fe. /Jl','Jonetrf a"~j,,. /J/1'.forie.r'J 1£1glt/J.
/5'-( Pv..rSUO.l\.f ./,. hiuo.J -regv.lreh'le,.;/-s a.J;;r ACA ffa.nio.rJJ/ fl..... ffah of /.few Ae.ic1'Go
     htts C<Jnsfr"'J-~ pv.Ll.'s/.~ an.J ~jo.3 ~ spec...i'f,·t IJ;11 C/j Akcj a11J /J,..oc..e.lure. 't"eao.rJ,f\~
     j,•'rhu lf~ 12.ve.r'j a..s,oe';f of ft,°follv ct-1.M':J o.,.._/ ec,,.C,·11.eM_e4"1 h, ,.,, dv.Je. /,L.../ ,._, f /,'Jvi,. .fJ le
      Po/1 't~ 4,.._J /Jroce.fu-rfl. Of\ ~W,/ Sf6.{F {J.;1.J 4i'.ro/1 eA".J ~JJre.H /tJ.J 1l1viafe /'r/.fo/I ~ C-oM -
     p/o.1'11fs1 ./orr-to..//':J    k1town          D..J   Tl    6,.,'evanc-e fJroC.Vf                ~Ji)'/( IJ Jl,/,'(~//Jrocee/u.,re_ 150500.
/S.S. In    f(Jt'sodeJ of l.1-rhol'I. .AlonoKt'de €,C17osure~ot'sc111'11~ ,,,.,'or ~ ~ e.vtwVf.r /71,,.,.,.,f;f(
     A-Mo.1-o /,JfJ..J Su ~·ed~J ./,,/ Sfo.fe Pri'.fone.rs vt1Y1"z.e.<R .flte 'X/MC. (J 6de./16.~C.4? ~;-oc.<JJ .).,,
     (JU.fJv...e.   ()..J/vl/n1'.sfr•t1f/e.       re.m~J~ h,      ./l...1l. t.<11.10.fe. f'r1'.Jo11   eo11MD'1.J anti Ile. re,,d/.·1.1€.
     f't"JleM of [o.rhon.A'ttJ11"l>'/(1'Je eicpo.St.lre                 ~o/Jontnj            ./,, Ao       4.VI·,./ 4,,.,J w1..fl.. 11.-0 Te.6..J011.1Atk
     ;vi ea.J c.M"eJ    t d k.en /oo.             veAJ
                                             {-A /,.Jd.rf; a."'J/or 13,re ven. fa"' !7 ./t... fu. re. e.ven.f.J of Co. I'"/, o'I
    tV/onox1'lf.rc. e.icl"os,.ve. a.11.J/or ;0oi'fon1'Y15.
/~./JI'°" .f1.4ffu,'nj Jl,ro1,,-jh o.. jle-.r-fAffJ.( eve4 of o.c.,,;/e [A,..bovtA10110~1'tfE. Po1'soru'hjJ /l/~,"­
    /;ff A11MJ.rO €Jy.p/b~J ~ fe,.,,j,f~,'.1 ''61"/evMC.e. ~ro3r11M ,'n {,)/ ()..Cl-OrcPt1.nCJ1 w/-{{ ~
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    pv..lo/,'.J"eJ '/JM l /j Poft•,~ a,,.J /JroclZJu.re. " i11 {). fj ool- {o.,'f~ ' 4/-fe,,"!J /.,, a.dJre,ff t1.1td
    poJJit'vJJ r~so/V<c. ~ j}ofe1111/1J.{/~ JeaJf'J ,oroble/111 O'IJ v.derl~,'~1 .drv..eftA.Yo! de.fed.
                    5f~.fe. JJr,:S-onetr.J evi.~a.3e.ef #...e .{a<..;/,-'/i,j ,.,.6vt'E.vtA11C~ r''"Ojir6.M /'1 <U(01'cla11c-e_
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/5/.    J./Wv'l.erov..J
     w,•fh fub/,'.fhetf f./M CtJ floh"C.'J/hoc.e.Ju.r~ ln a.n o.ffe.ltlY-'f ih a..JJre.s; art'J 110.rdt'vd'j roofve
     11,,·r   ,'55u -e.
ISff. l/tola.li'n~ 7Jv.e Pro(flJJ ~r1'nc.1/fe..s of 1-k s~A"J /f./r:J:..A-Me,,;..JjtlleJJI rejo.n.l/n~ fc,.// ~Ni
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     -f6.1'r heo..r1'n~~ a.tiJ. Jeif';fe. fk. Ue.o..r o.nJ o bv/oCAJ ot.C.4rret1.c..e. ol ~~ h~i( ev'2N\."fr 1 o..I/
     'f.{fEJo'\f'f.J a.f o.JMini.lra.ftve. ("eMe.J't, fieJ) w,:~··"' lk_ inff,-/v.,f.,'oti ;oroved ./,, he. ft1..hle. tJJ
      eo.c~ 1u1.J eve.<~ a..s.H:.rllo,, "'11...s /Jevi/J oYi lrot.AndJ 1t1if 1o,,.CA./~ ref.:fed /o a.1.1e,yinj1
       /-JilN4.rftn~ 1 _aYLi/o-r jJreV"-lllh~, /I..... ""'"~'eJ.JtJ..r'1 a.J                    c.t¥t.lw.. J,o.z.a.rc.f   /D   Sfafe. ,4.,'.JonM"J or
       fr, /l'\Jf,fi,J-;onJ .Jo..fef'J .feC.<.A.Yd'j/
                                     1
                                                            O'r   'oa.IJ.
                                                                        -l"-
              Case 1:16-cv-00993-KG-JHR Document 1 Filed 09/02/16 Page 27 of 31



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/51. ~.SutJ.11f ~        )./A'( CJ~ ,/Jo/,·c~/fJ,.oceJ"';-e1 t'n.sf:f,,..,hD110../ , .Al";"ta/s fo ''!le f,,,Ja,,.Jl!NI or /i,'f
     6es1'jn<J.fe...' t,.Je.-f'e f'tA.r.Sl/i.eJ IJ.J f!tA.r f bf /.k '(r1.e~nce ~;iroC<f.J,
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/f.pO~'L.sf,fv..f;,,MJ A1f?lltJ..IJ " .ft, "lAe tJttyJe,,y, or /,J4,.Je,,,.. iJe.s~nafe wue a.ho {uf,•/e ""'"
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      f IJeJ11iel
                   11 w1vM01...f jw1,f,·4b/e. Ca.""-Je or for reo..sonJ nof lojica//~ relafJ fr:> abtih"'j fk
     c.cttel,~t/ons 10.ri"~ a: S1j11,·f1C4.11.f r1·sk of ~er/011t.s Ao.rltft1 ,'nJ'CA.r'll 1J.¥1J/or /'eafA ,4. 11..e. Sfd.""2
     /Jr,~ot1er.s eonf.·,.e/ 0... f { (l_ /:.
~/.A "f'evleW o t 6 l ~/: ~ fe.SjJon..Se {J) lo /Jri'.soner ..s /ltA.Me+'ov..s 6. lfe,.,,l'f.s. af- o.k,"";i,':ffi.aftve
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     l"e.M.eJ~ (-,'eJ) wo1t./J fl_1""0V1.J.e. JtAlsfd.rtfld.f €.tJldevice. of Sfa..ffS ~cros..s ./k boa.rel
    1ohc~ of /ei'l~/n1 o.lfe~fr 11f re.l·ef ~f et1e.r~ Jfapa- - f,,, .foi'"fvl~ CoM/'~;,J;
     6,.t'e110.~ce/ J'".sf..f.._l,•M11J At°f'M/ - e..sf'ec/Al/y w/11. f"eoJor.S AoT /o31cal~ rek:feJ 4
     /"j,.f,'MJe f'e.¥W>f,,,,oJ ,;,-/ere.ib "" oll.erl../1'Je reltt.fJ .Jo ~ safef'j t1.11.JJ,,. Jec<AafJ of"
     lk ,'"Jhh.,f,b,., or ,-I; 500.I1.
        Tlie. '[,.,.J,r,,j{J)                 ;ir1'Jo11~ X.fcrM4.f CoM/'itt;1tf '/;e,rJon/I~ f4
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)(pl.                               of: lie                                                                    '6r,'ev4nt'.e
     L/ell\fe,y..a.,J '' ''6r/evo.n.c.e [Jf(/ceH"{J) ': '6l't'eva.111Ce. lecA'1/CltMfi) '~ "t.Jq,,.de"'U)_/
     '"Wa.rJ<?#\ IJe;,'Jrt~fe(s)        tJvtcl/t;r ll. "lo11ln.d/Co1v11'/,·a,.,ce. Ar;n.·f<d· ,, re.17-ru-ed
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     fli ~ ;nli'viJ"- o.f allJ c,,o/fed·ve .rf._ {/.} '1l,J -refv..s~/6) ./r. 'C¥lft.. /A.fe. 1 /o /Jrt'Jo11~.1
      on vlrh o. I/~ '1111'J HI 4.lfv reJ o..rJl-e.1s 'f lf J /'lo. f-v.r-e. a.d,/r- /M/.)orf4,,c .ll. 1 0'1 t:I c~n 11 o..f
     he '-¥'Jell 6..S '1€jrl1 M1ie '', es~ec.,'a./& ,.,, .J..k 4re,,_ p I ;aokrd/1./!'1 elettJ1 Aeo..ll{
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/lo3. AJMilll'sfrAhve lf.f't°ea./J"                Jo    S..fa.fe. tJf{t'c/alJ     WV4l.   f'L<rst.AJ.
/~'-{. 5t6.fe O{.(,•,J4{5 ;iroc..e.e.J~ ~                                                                    ~n /j e. '{,.,,J,."jJ
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                                                        '' Ll&1J        '6v-lev6:nCe A17f'eA.(J" lutJeel
     oF    6 CC..Fs 6ri'w11.nce LI.   a11J 11..u pre11/ov..J efe"/4/.s ot ~ ''( ({,/" tJanJe,., or
     Wa.rJe.11 Lle.s1j11 a.fe(s) '' ~ lvLoM /n;f,-f,,. ho111../ Jrt'e_vant:.e. o.flflu./.r wu-e. 4.fJ,~"'e~
     "JAlJ.    "Jue.   l-:,a..sel on 31-0~.,J..s 11 of /"j1'ca//~ or r1tf/0110//J re./ofe..J 4 rie.nclojtcA/
     1nferesfs or- o/li.&rwt'se. t'elo.fe.J Jo re11e1i:l1ltj 1At1dv.e. AfJ.'Lar"J..s
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     t'n 6~,-f""fio111A/ ffl.fe.fy 0r .sec1.Arlf-'1 1 or e-orre.c::ft'vf.. j oA/J.
/((,5. T/r(. ~/o../\J Jei'lt'o.f..s ot .41Joll~~ 1 /e.J/f;M._fe C.0Mf'li4/116 iy f1"1'.ro" ,{{,•c..ta.l.1 (loo/i
     5./Afe. to\11.. 6 t(J/G, (( f" e.Mffo~~e.J/4..1~/.suve. fo e.sfd./J,'J/, ~severe /4.c.k
      ef Cc11cu11 b'j (Jr•'Jof\ of{,•c./1./s J:. /Jri'Jon e/.J 1 /,,fue.sis/ /.e.a./l/i1 .S~hf':f.1 JUl~d.f 1..1efl-
     ke.,'n~ ti.rtJ.for vu-J /,•ues 1 deta/fe o~v/ou..s kn-01,.ieJr~- ,fa. St'gflt'kc6.Af-lireo..f of.se_.r/o().J
     ~,.I/or /,.,Mi'J11en.f /,Ar"") ,'nJv..r'J 1 CJ..""1/or Juli. {l'Dltn t(. (JArf,·c."1a.r sov..r<:..e -lo 5f.i:cf~
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     ftiso11er.s Wl+,'ltJ af 6 Ct.J- ( a.,,JJ,,. Jt'M,'/~r/'J c:o11sfr1AdJ (Jrt'vtJ.fe. f .fo.,. -/lro{,'f u,vec.:ft,;n -
     tJ.f /;,.G(,•f,'u; Je/r'IOflsf.ta.feJ tl C-oncU1.lr1>.feJ 4f1r1of'i~e of .Se,veA.e. "e/eft'l:>u-a.fe... )11.J.·ffer-
     e,.,,ce; at\.J Col\J/,f...._feJ a. Jeo.r Je.p-.'vallon of of a {4{( 6V".J/cr f<Air a11J ,·M,041-f/d..{
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     hurl11j/procu_J,'111 a.f ea.di. a."-J evfl"'"~ fro..jfl 6 f li..e. IJ/Yl(_/J; '6r1'e<1a."ce_ /,ro3l'aJ11
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     6.r..J ,lfJ f'race.rJ ,.,, nak'lJ vt'ol1.fi"" of /Le s~~#\_J. ~'d.AMe.r-.JMed:s I R171JJ l)f'
     CJv...e ProC.eJ.S a.,,..J(or l:,1.4.rf- ("ec;.o~,,,'z.J Ju..e. l°roCeJ..S l'r,'nc,p/e.s.
/lo~. fa o. seve<'(. Je3re.e. /Je{e¥1Jc11.f.s we.r~ "Je./,·l:,v"'fJj ,';iJ,•./fereJ '' ..4. lie. 1A.l\.Jt1..fe
                                    1
  prison c,o11J.-/101W d.nJ t'e.Jfw/~ 11edl1je..-..f fo ~ /:Joff!Nllia/ c..oMeiL<ehc.es of ~ J.tL,,._//i
  h4.ZA.rJ { {a.rbon. /l10¥1.0V:,'~e. )_

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(<.t,, 7. {)efuJ11rd-J owerl /J/ojn/,-ff a.1'1.1..~ ./o £1~ 4nJ ~.·..-/~ ov /J'll'l/)tJ.l"t'a./~ Cons/c/e,,r /1,/;•wu:tk
        Conu,.-ns ~r ~i's I.ea. f11.1 5afe._f'J 1 anJ/or Je.viu-a./ ~e//-/,e/nj 1 es;:;ec.i4/(!J w~ e.-.. l"re.seJe~
        flf\J In ft)/ a..aorJ.6.V\Ce. ~ re0,LAi're1v1evih o/:-/4 'l-$'r/e.c/M\C<Z l/l"""'J""a.M /'L<rJIA.a.J ./.o
        l'"'-b/,'.JA.e.J A/Alf (/j Alty/fl.oc.e"Jwe { C.{)-/50.SOO~ 11n.J /n l"f.jarJJ '4 tt /<t1;0W'1
     f/,reo.f   DI' 1'1'.Jk "( S&r1'1J(.)..S    o.11J/c,,.    1'/vtlll'li/lruJ   AarM/''"f"",,.~I   a.11"J/or   cleO.{i   froM   a ;01u -
     fi'-,,._{o.I' sov..rcE1 wA,-J,  qJ;o kn.ot;Jt1 4 6e. 6.. ('eC.'-'Yl"in1 6T r"t'.e:/-,4,-v«. f'Yobk1t1.
                                      INN
l&N'.&, ;nf€JAho11D.I~ l.,-f,.11 j of' Je.f;/,e;-Je/y refu.~t'';'J lo €/ fl..w: (1) £(~ .{d;,/V aAJtr ,µ..~A,. -
                                                                                       1

                                                                                                          1
   f/a11~ lcmst'Je.r (Me. 1t1erl~ o{) /eJ,f,~ 1J.fe.              1,-b ftu&J 6tf f-fAfe.. J?,'Jon if.I t'n. (l..ctorela,.c~
                                                                   Co1r?r'81
    t;JiU (JV-{,/,'sleJ IJ)!/{IJ        0/'1'e111J.¥1lJl.   Ahc.j//Jrocet:L.re( CIJ-/50500~· {)r(l.lu..f '"                       a. rea..-
    Jonli/J~ ;;r~Jen,f MtJttne,,y-              .f..o /'r,,fed ff.le ,4.,'Jo~erJ fro~ /011~ -KJU:>Wn 5'ot.rc~ of
                                            so a...r
    Serious a.Ni/or iMtvtt'ne..J- rt'sk. of /,tJrl•''i/"/'Ar'J 1 "nl/r lea:/{ /)ef'e.AJ4.Ah e3,.e.3ioN~ JreAd.-
    e.J. f4,·r ,';,J,'v;J(.).oJ a.11 J eo//edve. JI~ ./-u CIJ.Y-e. /or lk /,,/ve.if:s..,1 ~u~lf./ .StJ.h'IJ 1 ei,J/o,.
     jfW..&r«-f well-/oe,'n of f~fe fJr,:rone-rJ - /11eft.../,n5 ~/11.l(f AMt:tr<>s~
                                1
/lo 9. ~ :11fe.,l.·o,,a//~ -{4,'fi115 tA1'/,-h1 or JJ.ieri/J~ -re.fuin' ./o e.d-1.er: (/ )ft.J(y <u1J {(,.ir/~ cv
      1'tvtpMfra./f~ Ct:>nfiJer /e,t'f,'Nlafe_ loM;o_lo.t'n/J /o~e.cl 6J ffa.fe h1'.flM er.s pc.._rJIA.A"f /;, l'e
      "61'•'Ev6.¥iC.e 11 5ec£.oV\ of NMC.IJ JJJ;c'1/ftoaJv.-re; 61"{l)res,oo1tl ~St.A..cli. ~,d'a,.11,f!
      /n /ie. MA1111ev jJre.scr,'be.c/2 i~ 54,yf °Po/,'c~/Jl..ocJ'-'?'~1 a4Yre~tA./retJ b!:J ke CoG..~~
     /Jef~J11JJ e.'re..[Jt'oc..s/~ /,reo..chruf. l/.et'r il'IJ,'v;Jv.. .. / 411J eol/ec.fi'11-E J~ ~ 1'/r,,,a/efale,~ 4,4,"1/~ 1
      an.tlbr v.,oUJ S/(/.:le 1.d/or {;.Je;y-tJ hws re~eJ1..ft'oP1.f1 /1/1411elo.fes a"-4'./r re6_1..</refate;./J
                                                                        1
     'le.lo.fer/ 1-o ,4.,'.foner.J/ (usloJ'J/to,,{111eMevil; a"-'14r /'rofe.r.rioYlc./ {µork-} .e..Fl..t'c.J aJJWVt.el
     ~~ l1_Wf0/Jt1e/""' ~£0 a~ ,,,J-J'/~lo'J e~ f/Je "-J~JhM;ilo'QeeJ/ <'C.,rred1c;,..r O({r'cu-1;
                                                                                                                                            1




       Oa/.-1.. of (){{,·eel. efc. 1 el(/ e:lc.                       1
/70 ..St,,.c/i. Co/\.cft..d Je11r/~ J,J;l~~.J f4 /J-efev.Ja,..fr severe ':Je.-f.-'3er11-fe /nd,· {fe-Ye11c~ '' 4 or
      .for ./.4 t'11feref'h /.u1/i 1 .Jo.feii.,1 ,1e.r.enA-/ /.Je.l/-6ei"~I 4.Nl/or //"fWJ /,fe of /)/4/,.f.,-{fA-M~ro
                           1
     ().11J   S/1"11Var~~ ...S;ft;,.6.fec/     StAfe..      /}.,:ronerJ.                                                    ·
/")/, 5i...cA i"J,.11uJ,,.a/ 411J U>//edlve            c.on.Jw::f    also dettr~           deMons-/rafes        lie bef&,,e/4"'-h 1
     110..kecP e/,'.Jre'jtJ.rd (,,,.. et'""er ~ l'etfe¥"A//'J /Vlt;.;i.JdeJ re3v.ire)t/leJ.r U>nce-a1i'1J ~
     C<>n£·neMe,,,f of /)WJo!U af tJell 4.s li..e. fl'ec/k( /'rov,''s/M.f o"'J;{,.,,. ecnJ,l?t>ns o I~
                                                  1
     cc11./}nel'l'lenf-j or Me. rJ,'..sf'o.StJ.l/e /t'llei of ./k. l'rof.·f-Jen erain7 Sf"fe /f.,':.fo11 ~ ea11k11etl
     a.f 6 Cf_~ ( 41\J .J,jvt,-/6.r/'J C.011sfrv.cfe.J f'riv11fe 'lor-/'ro{,·f'fJrt'JMJ /n N~t.)M.tJCt'C-c)
     and 4/YIOIMi'fs h o.. seve¥e. Jet-be-rafe ,.,,,lfferer,ce th ~ ~,'5 J.f.t ofJ;,,f°f,...f"'-/,t;11a.f;z.~~
     Ar!onJ anJ a" obllt'ov...J t#e;./A../ or JetJr1v4.ft'c,, of di.A4 11roc.eJf ;,, ~ CotArJe d f !°'''Jon
     ''6rt'e.vd.ll('L jJroce.elt'nJ.fl ,'n V/o/ll·ho11 d{ ~ ( ' IJ1.A€ /Jroce.J.J Jprt'ncipk.J e?"'otAJJ ,J-,
                     11                                                           11



       ./k. llJ. &.n.d-dJiovtJ 5 Jj., ~~ /C/'d.. AM~dM.~.
/ 72. Side An.J. 6 t D IJeftWt.Jli.11.fJ a.re re~on.rd,/e h JJ/6.i11J1ff e././if/Y' dired~ u u.nd.f.r
       ~ Jodrl"eJ (){ f'e.$jJoml.tuA.f .5'-lf'<lA",'or1 ~e,.,c~ 1 or 6.,0f'6.Yet'\.f AJE?.i\C.t.
/'13. / t> ~ severe J~ree.1 IJ./I o..dt'1>11~ O/Yl/.r.f/011s1 dml/or -l_,'f"'rti ~ 4c_f b':J Sia.le ""-J/or
       61i"O Def.eN\Ja.n!J ":1,e-re /lej/'je4"1 wd/4./; W4nhV1; qnJ t'n. 3ro.rs ()..n,J reck./eJJ J1-.r-
      Tf.17a.r<f {or ,/J/4.1nft·{ts 1'nfe.relh1 hul-11.1 .511~~ 1 wd/..../,e,~,/ a11J'r Ve-Y~ /,·fe.
                                                                                                 1
I )t./.f.JltJ..111/iff sv..fWJ iMfYl.eJ,·tlfe. ,';i}tc.rt'eJ a..s A cl/,-ecf refJt d f /Je~Ja"'fi <:.ovt.dv..cf

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/?5./JtJ.--f-.for /Jef~tJ.11ts 16m.hvltt.~{ a"J eolfec:h11e)eottJuJ; /J/4,,-,,{,-{f ~aro                                             /J   af-,.,~s/<_
    for   an.& J~fo;e.c:f ik Se,,-i'ou....s {J~re.             /,ArMS     4.JJoc1o.feJ w."1/i {a.ctAfe.} C.o.rtonAt>i'lo~lJ<>
     ,001Jc>llt'1!' C.IA./vlfA.(J;ve._ flJCjJDJv..re.r          ./.:, {6.r/oor. ,,#(,,,, ol(/e/e Ja.Jer_,,, a~4,,. cliYDr1;c ,.;J~-
     ttf1'on      o~ ./l..e_   /oi<t'<...   aJ,.£'1'  /;..1v1e.1.
                                                       /loX:/OIA.J
/~. 4.f 11. Ji•red- -r e.r~/ "f ~ .for~oln 'j / JJl,,,·l'lf; (f /f-,v14ro A4.1' Ju ffvJ e_.ic~/ve
   jJ'f'eve.-tftJ/e o.AJ.. c.innec.e.Ua.r~ .la/V\.'1e..J a..nJ i"J'v..,..;e..1 /11c./,,.J,.ri~ 6J 11of/.•1t11;fu/ /.o:17a."'"-
     a.#o..cl.11 hi..Mi   lia.£·o .,..,(J,'Jo./Ji111) /Vt~<A,/ 1Jv.jJa.t'rM w/; IJ.n. Kl~ I rl   IW" V 01..t.ut e..fJ/   fe.o.y> fr<A.'-"""IJl,.,1 Se.Vf!A"e.
     pS'j~lo(J1'c.../ and       enwJo,,,._/ J,:rfre.111,04.ro...11.oi'"-1 h•l.4..f.r of J¥Jr.e.IJ)on 1f'"'"' 4d s1;../f..,-,"'J,;
      Ae.o..Jo..J..eJ/ l'l~W.Jet:t./ 1'1t.J1;Juf;on 1 l'/4.So./ a,..J e'j'l- iraf._f;on..s1 voJYidi11jl -h.ot...lofe .s-/eo/1,-,.,J/ res/Jir-
     ahr~ JiJc~().r3-e.1 /cJJ of ~.J°J""e.J o.f lie.,, o.l'\J ()."' ,,..,k.M:>wALI~ e.d-~f of ( ./J'-'-re) ;J,:1s1'-
     c.a/ Jo.1vtfJ..OeJI IY/filtf,,j~J:Jd..7o:J"uf t'n/<Ari'u1 ttnJ/IDftwJiA/ /,.fe-f/,ru.f~;t'l.j J,'24/t/.17;o~Je1111J
     Coltfisf&J- w,.../-1 AciAle.. &b~ ,41/Dno)(;J.e /Jo/.roni11J ().N/,,{,r r«.p~,-f,'v e e}Cf'rJ""-rqJ lo f4
     fo~t'c.../l~M.j f"-Nl.e..J -st...cAo.s hvrw- ~Iv!~</ /<,-J"~!j J.":fe....Je..,,1'"e..Sf'Jro..tor~ ,.;/,,w1 a.,,_J Coro-
     11ar~ A~o.rf J,·JeQ.J~.


lOlllJ!:IIl.I/lllll/AA-JIE CDtt/2ITID/../S OF {ONFI/../,-,#/£A.IT:
        DFFEt.7.Ii/E l.O/JST/(tllTIOJ/ OF /JllYSIC4L JJL/l/l/T IN
                  l/Iot/.I TioA/ OF P-to£RA-l AAi./DA-Jt;f 4t<ILJ R£0.lc~12cMENTJ
                  D(     l!S. (OA/STJTLIT.IO/../
//7. fJ/a.t'11iff.f reJfa.fe.S e.a.c.A of /J..e jJre..c.e.e.J.111, off~d..f/011..s (JJ ,.f ~~ sla.fJ /,e,r<ih.
/7'1.//o.in/tf-( luul a R,jAf u11Jw Me £·~/..Ii AM&1.k,e¥Vf ~ ~ lf. f. 4nshfc...f,.on 1-r.
    hu.1t110. 11 e.. ~rJrl;o.,.i o I c.onl'11.t.N1e,..,f wl.,.cJ. ,.oreclt.Jes C<>n{,'neMe.Af tJ..t o. Corredi'oV11AJ
    f4c..f.-f~ wht'c./, S'-' tfetr; froM 4.n t'11iu-&t\;f~ Jefec./,'lle a.rJ.,. .fed~rA/ des,'~ I\ a"'-el/or
     ~,,.,, e.eyin1 w~ ,-J. ;Oo.Je~ Co..tAse.J1 a.1td/or c.reJe.s 4 Slt fo.sf~n-ft'td ri'Jk.. a.~J~; ;M/1111'/ieJ
    ""'re.o.f ~ .fk ,-,,fere1f11 Ae.a.l.f.A1 J4{e.f~ 1 aA~r vu~ /i'veJ of ~ l'/t.t.nfJ OL(t.yJ-.11f.f ./irot...J~
    4. kY1.10wt1 d.AJ. l'Arf,'c.v...lar so~rce 1a.l\.J INA,-J. reM~/nJ ltn cu..re.J.
179. t'{cftA.Jln~ l,,.,"z.01' a"'-J C.Ort'Ul"' IJefUtda11h,, 4// reJv?a1n1n.1 /Je~~nfr ~Ye.. l'VfJD"rt'l:.I~
    k, PfAr'11f,,ff ,fN11u·o /:o, JOJtt6..3e.J i'11cv..rre.J 4Ja re1..Jf 1/ w11fi11e111ed 6.f 1. ecrrediontd fo.ci0J
    wJ..,•J,.. 11..Jf.erJ f.ro1t11 tt fo..1.vl 1J or Jele.d·vE t1.rc.L·fed~yJ Je.113ti an.ti cor1Jfr1;o.Ji"n~ J/c,~
    1'J /t.rvo1.J11 h, Aa1.1e.. 4 /,,•.1./.b,.1 ,,f Crubon A1oriox;Je /lc,'JMt'nj evev±t o..s /)41_ .f&t.."44:;
    !<11t.t-.1 Mej WeKe.. ~ frvfuf i,.Jt~./i 0.11.J </"'-(~ re.s1701\St''1k .fer 11.e hu/-11; s•hlj; tu1.rf4r AJe-//-
    b et'n~ of SfAte 4,'.fonH..r 6 C( ~ (or .s.·M,•lu/'1 Co"tifr,,.c.feJ ;:m'v4f( 1.h.r-t°rohf ~,.,"Jo~.s ,.,,
      J.lewA'ltlCieo) IN~e.f/.e,r J,•reJ/~                  char1J      w1vfl.. CLAsfr>J~ and/or co..r~of ~ ff,".JcnerJ/,'"'
      tt111.~   fOli'li-011of .S <A.,O w111'Jor") (}. ~ rt't~j 4J tJ.n ownu/s"'f'Ui/1 f&id eni I){ ~e /'A'J.s1'c.4./
     (Jiu.hf ho1.tJi'n3 /J,.,'Jott e:rs,: tJ.S trn owf\ rw/scy>e.r/11 ft.¥\Je,,_f o.f Ii~ rru../ 1ro17er~ ( ( fF ;1
      lot..4..feJ on; a...s d.n a.rcA,·fe.dv.r4./ Jf..s1j1ter 0.11.~r tw\frteer o( #...e. ,oA;sic.1..7l'l•n~· a..s tt
     btAt/JM a."Jfor 'cot'\J,..IAdor 1luedor of Me l'J,jstu. I14/a11,f; /inti/or l'u*"Jt.an.f h                                                    4 C.OY'l -
     fro..J INt'oM .f.lf. Slrfe of J.leLJ JI'/ fl. '(/cc, ,,,,. <>ll«j a.j f?A.\CJ #..ere. o{.

                                                                        --?.JI -
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J   80.A-.s   o..   Wo..rJ of ~E. 5ftJ.fe1 -!ft. f/.4f.e.. o-f /./t.w At.~'lo i5 ~·red/~ Y-eJj:'ost'/4 .for ensc.tr-
      /11~ #ia.f /J/o.it,J;{f 1".S klA..se.J /'1 a Correc:h•onoJ ~c.,./1~~ .free.. of att~ <.u1~v.feci o.;oc-i,lec. -
      fl.l.ro../ Je.sljn - o.r.J/or Bv\'1/ieu-/nj -1/o.w.s or Jefec£ 1 e-soec1'ctll3 k,oJe v-JL'<-1. IAJo"'-fJ
      {or do) ;o.H. 6.. s,,,,blfo.n-h6../ r/.rk. 11..Mf/or S1':J/\1-f1-C4A.f /lrre4.f 1>{ .Ser,·ov..J /,D.T/IA../ )~'u.r'jl
      o"J /or Jeo..fli fo /Jlo.iti 1t {t.
I 'ii. l/nlu CAJntro.J- w1../1, /le. Sf4f-e o( J/ew Me)C1'lo 1>r .,,~ a.y~l'J #tu-e. "~ Tl_ 6 E 0
     tu·ol;,p/ r,,.(./ ,{ l{j o..ae,Je.J ff!Jj'Olt.sib,·ltf~ - (JI\~ .fiue'r~ /;,,6,,.fl~ - /or 14 sa.fe -
      Ke.e.r'i11q o.f Jf4fe flr/'J'o"e.-rr l°/4.C'lj 1'1, ;-f; CO.YE? r11J/or cv..JoJ~; sa~keel",'"'l >' /.c
      t'l!duJE. c.on.fi11eMe11.f a} a. C-OrredJ0111A./ /o..a/,--f~ free of <Mi <.M1t«re.-<I arcJ.,~c.fttre../
       a.nJ~r Jtr~J,,,_ro..f Jefed.s Qn.J/or                  {/fA.WJ
                                                                     1
                                                                         eJpec/6./{~   lioH    wh1'~ lttJoJcJ fJ.O.Se.     t.t.   .St.A.h-
       s-14.nf/fi{ ruk  a."-J~r 51j111-f1'c()."f ffi.re,,_f o{ .svi'otA.s ~o.rM1 l11jc..r~ 1 "'"'£/o.,, ~~"'fl.. 1-o
     JJ/o.,-.,ldf an.J (),II oli.w st'tv11Yo.rl~ r;f1A4-e.f ff""fi .4.~011w-J.
I ~l. lcr 1'l.on L l (, I.An. le-r Conf,·tJ. c:f wr/i fi.e )-/ 4fe o{ #ew M ex,·eo "r a111 AJet1C'J #.ereo~
                 1
      Ao.s - fo,. 6. prof,-f- 6..(C..e~fJ fe.sl'onst'~;f,.~ /..,.. ~ /, u/f~ St.r. fe.-f~ 1 all\.~ /or J. efAf/t'a./
      we.ff.. beltij of ._// f-/A.fe /Jrlfo/'ll?r.S (.,c;ifi1td b~ ~ Sfofe of /./e.w )ife)Ci'c.o w~1·eJ..
      i'ncli...Je.J Jo111,f ,'f rtt.t~ /,'Mde.J fo1 e..icercts/n~ YeAJ0110.fole e.f:r'O.,fr or ./4k,·n'j rea.sono.6/.e
                    1
       a11J/or (J.roac:l-i11e. IY\e()..Jl.lre.5        ./o   etl\Sur~ /i4f )14.fe. _A.,".soll. fW.S   ()   t'~ Aof U>11fintL'       i"1
      "'"':) f1tc,.f,-"1 ~Ml/or /,•v/n~ €M.v,'rot1M.enf wl..,·J W()t.>.IJ l'ose a11~ rlsK Dr f!i,ur of
     ...5u/ot.\..S Ao.rM11';ijv.r~1 a.nJlor J~o.M;Jf.A.J.. ~ t'n "'"' /1t~f/rel'tfl'J Jefedt've sfrtAc.fure
      wA,·c_h ls Kn-oflv11. fo repe"-fJ/~ St.Abjec.f ,~f s rest'Je.A/-J oh f?.ICf.Jo.Sure -k hK/c.. tJ.Ad/cr
      1to(/01.AJ fv.M.eJ at /-e.11ds /.trvo1,H1, {o btt /.e./i.6./ lo A"',..,,,"'".r,
/ b'J. lJAttfler or- M>f v..r1.Jer CA>"1fro.cf wt'f/i ~ Sfofe. of New.M~K"t't:.A> or on~ l.ljfeN\'-~ fl..,,,_e.-
      of1 a.rJ..feJ~ro..f Jes1j111U".J a11J/or eY!jt'nee.rJ 4re o.b.rolJJ~ resf'on!/b/~ for
      Jest'.jnr,, a1tllor EW\jt'neer/11 1 /lA:i,si'c.,J s'iru.cfv.re1 11.,f ttre. /nhvenil~ ..54.te a,,_J A"'""a11.e..,,
      a11& free1 froM 011~ CttcA/TecftA.r<J.7 lbtl/o-r d,..,,.cfv..,-o./ JffecJJ/.f./41,.u 1 e¥'ec1til~ /lt,,u_
      whn~ f>oSe f>.. Sv.bifJ.1'1.-/t'A/ r/SK or ./.!. reJ. o( ~"'Iv-../ 1'n) ur'JJ A,..J/o.,, J.e~ ./-o ""1 o FJ4
      sfr1.tcf1.Are.J ouvpa111.f.s.
/ ~</. LJhe.Jlie.r or no+ ul"llu eo11fro..cf wi'M ./ie. Jfafe. cf. )/ef,J..#/t_°'1'<AJ or a"!.J ti'&+-\'~ fle,yeol/
      oc.vners <LM.J/or Su.,oerl11 ~d'e" fs of II. e o..J-1A.o.,{ .tf-r"'JtAre.. J.""°"',., 6..S ,,6 {_ ( F ,,..r·~ -r~M­
                                                                                                            11


      .s;k/e for ev,J1.u1'11~ /1.4.f ~"-j .sfr,,,du..rA./ JefeciJ <JAJ~r {fa.wJ ar-e c1.11.ve.I Jo                   4J   -A   /lof
      !°ose c...             Ii 1J.r1v11 t'~1Ar~1 a11.J!r Jeo.,f/, fo 4"j t°YJon..
                     /.l...,,e..ef   of
/~5. Whet~u or fief t1tV1J..w ~vdr().cf w1.fl. ./l.t Sf1.f«- of /.-l~wMe.'dC..t> ortln~ ~C!MCj #...e-re.o~ ownwJ
    o.n.J/or sc.yoe-dnft!KIJe.+'I·}; af /ie reJ prof'erf~ 6(( Ft's ti.dl4.4//'J locate£ on 4y~ ;/u./~
    f'e5(-'onsi'ble !-or e.nsu.rini ./J,_f tin~ sf-nAt..;{11.l"e.5 bv.df 0.111/or /ocaf«f on -/1..et'r ;iro/)erf~ ti.re
       Sofe    ~r       OCCL.\ftJ.fioVI    o_,.,J/or resi'd<mc'1 .J.o /11c/LAJe{l,"'--/11-.fthi~.fe<l../o)evisv.r/"1 ./la.f
       l/...e sfru.dtAre             ls Jes,~~e.J tJ.11,J Co"sf1"111JJ fo he. 're.a.IOI\ o..lf~ sale 6.~J In~ e-r&nf/~ f;~e.
      h.oM        arJ.;te.dv.ral/eNl.jt'neeT'inj f/l).WJ1 fatA/f;1 4"tf/r cfefecfr e.vl./c.t, wo1...IJ 1-7os€' a
       -5u.hsta11-/;a f ri'JK a11l/or ~''j'""Hco.J -/i.r€~f of se,-,'ol,,\,J AaYMJ t'11j"'-Y~ a.11J;;,. el"'"' Ii 4
        t:ln ':J ;o.ss/t:/-e. or ;1'1'11 ~,."'' "'" tJ. cltA.~1 ru/J~.J.


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I tlGi. /)e_fen.JtJJtf.s    owecf a  J~ ~ /J;4,•,J,-{f v.nJe-r f4 /,'JJ.1-1,//-MdN/uJ le .le.s1j11.; fU15ln-
      eer .1 loude./ Con.Jru.~ tv11J./nf4.1'111a.n.J /or otf. e,,y1,.;/J.fl. prov/el(! kt.t.s/11' ,' V1 o. {eorruflonA IJ
     {a,c,{•f:J [re.~ ot a~ 1.A.flC.tA.retR sfr1,1.JurtA/ J"-feds 1 espect4./~ .tftoJe wltt'ci, '°o.su/ et 5JJnl -
      {/c4nf Ure.4.l an~r t'lvi/V\t'neJr/sK of .Jer/01A...r f.o.nv1; /nJIA.t''JJ a~J/r eletd/. lo /.,'J,.Off'·hm.
/'t/./l{/jJ/,-uJJe /JefeY1.l4.,,/J oweJ o. Jt,\f~ .f.-o /J/1./11-J,-{f "4n1w ~ t~1v1e,.JH1.ed /.i.
      pro 111·Je c.:,,.J,...f,.ol'\J of. D:>n{,'rteMe,,J /r, ~at'J ku..r,'111 Gonf1'.lf,;.,j 4{ 1111 a.rdileci<A.ro../
       Jes1jl'\ Mat IS eKljJneerJ 4 be s .. f~ Au.l>'ld.'1 e./ '"'J /Yf.~ er-~/~ free lro/VI /'()futf,-allj
       .f4to.f ~ec..{./li /ro.zotds 14, i'11dt....k1 lo1A.f11-of /,;..,,;fJlo1 (6rt1m A11Jvro~Nl~ 1101'Jot'l.'l'lj
       onJ/or     c.Aronlc e;cposure.s          ./o sv..cA .,L,,Kt'C 4"-J/r /l-f:>KJo<-t.J   -k..M..eJ.
                       Me. vu~ .f>rsft'nsftu1ce of-{ArbM.#lcno>c/J'; e'!<p0.S<Are~/'''.rovil1i 1 af
I <fff.f;;cf~J,';ij f,.()/1/1
     Geer ora11~ S1lvi1~r/'J JeJ,~netl a."Jjr eon.lrv.del '°riflo.le h,--~,ofi'f 'l''''Ion; "l'Ph-
       co.A/e Defe.¥tlmf.J knew 6({ F sc.Jfu-J froM                       11'1 eo'·di,-/ecfuro..l/fNl.iineuln1 cle{ecf
     #io.f ~o.r~tR    {j.   S11,"''"'a. 11.t -linuJ f.MJ/o,,.   1'1viwt;ne,J r,'.sk 0 I .Su,'ov..J ht4rNI) ln.J1Ar1,, tH'l.J/or
     J~afli ./-o ~ sfr'-'d"""r'e~ res, ·Jev\f.r.
J ~q, .4(Jpf..CAb4. /Je fe11J,nts Knew lf.,j- fA,furt .Jo e.d·Aer: {1) sfru.cft.tYc..//j ti./~ or olJ..e.ri.v/Je.
    cu..-~or correJ- ./li.f.. r:Jo.flfj /<~w" Q.rcJ,.fec.f<ArA/-Jes,~h/evi5lnee.r•'nj de~J/ or ('l}/IWt'l.e -
    J,-6.fJ'J -felt'lof/e Sfa:fe JJri.f'oner-J fro1v1 ~ Jefec. f1vel'J JeJ,'311e.J 011J Co'1Sfr"'c..fe.J f'rt'vo..fe
     "tor-,oro(,.f- 1prt.Jon6) wo.JJ /,l<.ef'J '(esvJI ;,/fv.f<.i.~f!) /,o.rM{J}; ,'"il.A.Y~ {-leS J.I              tJ.4r
     Jeo..l·Mj) ./.o Ue ftla/, . .fj '.s re.J,'Je,,if.s1 po.rVc.v.fu/1,'/ ~ clefec.f~tA.l'IC-<>rre.c.fJ ~r
     reMo..1'n.J u '""' ..e;.:J-   ~..- t   •
/ ?D.A,o(J/,•co../J-e. IJe.fenJtJ1tfJ. wue 11ej/,.3e.vv1 .fo cit jevue Je,ree /n ~'~''n) fr, e1~er :(f)e'{'e,r~
    C.1'se. -reo..Sof\o.b le. f>A~sic(}./ efforf~ fo sfrtAc.fiA.-ro.//~ o./fe;r a,,,l/or Cv..re fk fie. JefedNe p/o.nf.s.
     o.rJidedv.ro..{ Jes,·~I\ /&t\3i11eu.'i'l'j ..{./o.w6); ( Z} fo.ke. rEo.Jono.~/e o.tfM.t'ni'sfr4f1 v'L "'1e4Su.re.s
                                                                                                                1




     jo ctS ./-n Co.l\.Se flui ~ 13/0.'l.f j ~rJdeJv.,.,.A.f-J.es,311 JefeJ .h, be C'-lr-ecf O'T -/k /"ofevJ,-~./
     Au(/.li ~fA.l..&.rJ /.b     6e        (!,orrec.fe.<f/ or/(~) /M1t11.eJ,4fe./'1 reMove Sfa.fe .4,·.so11erJ
                                      o.fi.e<INIJ-<2
     {~oiw'l #..e JefeJt11J~ Jesi''j"eJ/eo11s°"fl'u.c-feJ s/-rv.c.-f«Ar'<- SD o...s ./.c o.ba.f~ 6.ve-rf; #..wa.r~ 4J/or
     (Jr-eve."'l fl..e risk or µruf .froM C<A.V.Stl\i tAnj ft.iY/.liv ({u.fi....r.ft} h4rJvi(st )"J'v.t'& (-/e1J1
       o.nJlor cleaiA.6) of 011.~ of~ s.f.r,,..c:ft-1.re 's reJi'J€1ttis.
/t//.De..fe.,,,cfa"f, oi,,Je..J A,.,,1,.ff a. ef..,~ (}f C4.r~ fc not eo,,.(;,.e /.;Ir'! 1'1 a ;,."',.,,J e"vlronme.J
      /1ke/J lo Cttwe .Ser;otA.S Aa.rM 1 i~uY~ 1 a,,el/ortfeqk_, es;Je..t. .]a.//'J /..JJ,~ "'43d,·tve. o.nd tf,.,oWil
      ./.o be. fr.oM 4.fJo..rhctA/4r J'O(...(rce 11mf/or w1.fl. ~e. Je.riOIA..J' ,l'o..I.S,./,,,/,-1 <>f Jro.1;., /a,vi~eo,.,.Jeo./i,
;rz.    6) fo.,./,.,,1 4 ~/#.&"": ( /) e.x:erci.Je. reo...J~no.~le ;J1si'co.1 efforh Ir. .J/-rb.c..l-ro.ll!J o,//M"cu1J/,.
      <: un 11..e.. p/a11 h Jefec.f1ve qrJ,.fe.c.fu.rA/ J"u,j,., f /<>. ~/ { 2} fi./:.e. rea.sono.bk a./M1i1,'sfrtJ.hv e.
      Mea..su.re.s 50 tts h Ca.t.\Je. lie /'~11f; 4.rel,;/ecfur<J ~StJ" c/efec.l -A. /, e C.uYeJ or ~
      jJofe11t·o./ Ae.~//li /i~z..a.r/ lo he oliertvt'.se. Correc:k~· or (3)r-~ov~5f<J.I~ /f.uoner.s fro""
     lie J ek.c.f;ve,/j JeJ'J"eJ /'r/va.fe r:or-11ro£~f ~r,':fon.S (;" c.ll.113 { (( F )so 4.I ./i. ti.66..~a.ver~
       fJ.L.Ja.r f; and/or t°reve.nf Ii f! l,own d:st or fir12c.f of Ao.rM1 •'''i"'''1i am//or tfeo../J. fro1vi Co.u. -
     Si1tj ti.nj fu.rUli?lr t:.r {1.Jr.tr-t do..M"'je6)1 /)efe~J11.nh eJrejlow,.r~ 6re.o..cte.cf ./ie./r ;,,,J}v1Ju4/
       ttnJ eolle.cfivE. Jf.,l,f'-J ./.. h.. t../~ /Jf<~,·vrhff ,·n IA t'eO.S0)10.ll~ StJte l~jJica.I sfrudl.\re, ,',,/,ure.J-
       l'j fre.e. of (Jofen h(J./~ cfeo.cl~ heq/f/.. Aazarl..r.
                                                                -3/-
